 

   

Case 2:1Q-Cv-03542-MAM Document 1 Filed 07/20/10 Page 1 of 70
CIVIL COVER SHEET

Tire JS 44 civil cover sheet_arid the information contained herein neither re lace nor sir plerrierzt the filingr and service of pleadings or other Eapers as re uired by law, except as proyided
by local rules of eoiirt, Tliis fori'rr, approved by the Judicial Corifererice o tire Uriited §tates iri September 1974, is required 1for the use of t e Clerlc of ourt for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF rHE FORM`)

I. (:i) PLAINTIFFS
CO¥_LEGESOURCE, ||\iC., a Ca|ifornia corporation

rios 44 (r<ev. izior)

 

DEFENDANTS

ACADEMYONE, ENC., a Pennsylvania corporation and DAVJD
K. MO§..DOFF, an individual
Coi.irrty of Residence of First Lisred Befendant Chest@r COU nt!i PA
iiN u.s. PLAiN'rrr=r CAsEs oNi:r)

NOTE: iN LAND CGNDEMNATION CASES, USE THE LOCATIGN OF THE
LAND INVOLVED.

(b) Counzy GrResrdence ofFirsiLisied Piairiiiff San Diogo, CA

(EXCEPT lN U.S, PLAENTIFF CASES)

{C) Attorriey’$ (Fir'rn Name, Address, and Teiephorie Number) Al;tOrne)/S (lfK.rioWri)

Conrad O'Brieri. P.C., 1515 l\/larket Street, 16th Floor, Philade|phia,
PA, 19102 (215-864-9600 m

 

 

II. BASIS OF mRISDICTION (Place an "X" iri Une Box Orily} III. CITIZENSHIP OF PRINCIPAL PARTIES(P{BCE an “X" in Orie Box for Pla:`rit'iff
{For Diversiiy Cases Orily) and Orie Box for Defexidarit)
§§ l U,S_ Govei~n_irrent B 3 Fodoral Quesl'iori PTF DEF PTF DEF
PlaintiP£` (U.S, Goverriment Not a Party) Citi`zeri of This State 5 l § I incorporated or Prini:ipa§ Place ij 4 g 4
of Busiriess in This Siate
ij 2 U.S. Goverrurieu£ § 4 Divei'sii:y Citizen ofAi~iother State §§ 2 ' ij 2 incorporated and Frincipal Piace ZF 5 D 5
ii . . . . . . `
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Citizen or Subjec:r afa ij 3 § 3 Foreigri Nation § 6 ij 6
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IV NATURE OF SUIT Place an “X” in One Box

   

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il 120 Man`ne ij 310 Az`rplane ij 362 Personal Irijuiy - ii 620 Ol'iier Food & Drug ii 423 Witlidrawul ij 410 Antitrust
ij 130 Miiier Act 5 315 Az`i'plane Product Med. Malpi'actice § 525 Drirg Reiated Seiz\.ire 28 USC 157 ij 430 Bariks and Barikirig
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El 190 Or.her Coritract Product Li'zibi§ity 5 385 Properry Damage i`_'l 720 Labori'l\rigmt. Relatioris fl 863 DIWC/DIWW (405(g)) 12 USC 3410
ij 195 Coritract Prcduct L:'iibility fl 360 Ol.her Personal Product liability ij 730 Laborfl\/Igirit.Repoztirig {J 864 SSID Title XVI D 890 Other Statutor'y Actions
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ij 290 All Other Real Property [J 445 Amer. waisabiiiti€s - 111 540 Mandamus & Other §§ Naturaiizalion Appiica ron Ul'ld€r qulal ACCESS
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thel' Cl 455 O&lzer Im_ri'ii`gralion S'(ate Statutcs
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V. ORIGIN (Place an “X" iri Oiie an any) A%Deal to Dismct
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Proceedi`rig State Court Appellai'e Coirit Reo erieci another district L.itigatiori Maglstrate
p (specifvl §i.id_gment

 

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Brief descrip£ion of causc: _ . . . . . . _
Rao§<eteering Aotivity, Uorriputer Frauci and Treidernarl< Vio|ation arising from misappropriation Ol

VI. CAUSE GF ACTION

 

 

 

 

 

 

 

 

VII. REQUESTED IN lZI cHEcK ii= wis is A cLAsS ACrioN DEMAND $ CHECK YES oniy if demanded iri complaint
COMPLAINT: UND§R F.R,c.?. 23 JURY DEMAND: g Yes n Nu
VIII. RELATED CASE(S) {S _ m _ _
IF ANY "e ms `°"°“S}‘ onGE Padova Dooi<ET NUMBER
DATE SIGNATURE OF ATTORNEY O? RECORD
gm Q (:\\_... n ;\A_¢:Q s
FOR OFFICE USE ONLY ‘-'--' ‘-._.¢ 1,‘
RECElP'l` # AMOUNT APPLYlNG lFP JUDGE MAG. JUDGE

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is 44 navarro raw izic'i)

ZNSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

'f.he JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of courtl This fom'i, approved by the J udicial Conference of the United States in Septernber 1974, is required for the use
of the Clerk ofCourt for the purpose of initiating the civil docket sheet. Consequcntly, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant Ifthe plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. lf the plaintiff or defendant is an official Within a government agency, identify first the agency and then the official, giving
both name and title.

(b) County ofResidence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first §isted plaintiff resides at the time
of filing tn U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing (NOTE: In land condemnation cases,
the county of residence of the “def'endant” is the location of the tract of land involved.)

(c} Attorneys. Enter the firm name, address, telephone number, and attorney of record If' there are several attorneys, list them on an attachment noting
iri this section “(see attachment)”.

II. Jurisdiction. The basis of jurisdiction is set forth under Rule S(a}, F.R.CiP., which requires that jurisdictions he shown in pleadings Place an “X” in one
of the boxes. lf there is more than orie basis ofjurisdiction, precedence is given in the order shown below.

Un§ted States plaintiff (1) tui'isdiction based on 28 U.S,C. 1345 and l348. Suits by agencies and officers of the United States are included here.
Uriited States defendantl (2) thn the plaintiff is suing the Uriited States, its officers cr agencies, place an “X” in`this box.

Federal questionl (3) This refers to suits under 23 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congrcss or atreaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
l or 2 should be marked

Divers§ty ofcitizenship. (4) 'l"his refers to suits under 28 U.S.C. 1332, where parties are citizens of different states When Box 4 is checked, the citizenship of the
different parties must be checked {See Section III beiow; federal question actions take precedence over diversity cases.)

HI. Residenee {citizenship) ofPrincipaI Parties. 'l`his section of the J'S 44 is to be completed if diversity of citizenship was indicated above. Marlc this section
for each principal party.

IV. Natu re ofSuit, Place an “X” iri the appropriate box. If the nature of Suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks iri the Adrninistrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive

V_ Origin. Place an “X” in one ofthe seven boxes.
Original Proceedings. (l} Cases which originate in the Unitect States district courts

Removecl from State Court. {2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Remanded from Appellate Court. (3) Checlt this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reiristated or Reopened. (4) Chcclc this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferreci from Another l)istrict. (5) For cases transferred under 'l`it§e 28 U.S.C. Section l404(a). Do riot use this for within district transfers or multidistrict
litigation transfers

Multitiistrict Litigation. (6) Che clc this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.

Appeal to District _iudge from Magistrate Judgrnent. (7) Check this box for an appeal from a magistrate judge’s decision

VI. Cause ofAction. Report the civil statute directly related to the cause ofact§on and give a brief description ofthe cause. I)o not cite jurisdictionai statutes

unless diversityl Example: U.S. Civil Statute: 47 USC 553 .
Brref` Description: []naufliorized reception of cable service

VH. Requested in Corripiaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Dema_nd. ln this Spaoc enter the dollar amount {irl thousands of doilars) being demanded or indicate other demand Sl.:ch as a preliminary injunction
Jury Dernand. Check the appropriate box to indicate whether or not ajury is being demanded

VIII. Related Cases. This section of the IS 44 is used to reference related pending cases if a_riy. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

COLLEGESOURCE, INC. , A California : CIVIL ACTION
corporation '

v.
ACADEMYONE, INC. , a Pennsylvania NO_

corporation, et al.

In accordance With the Civil lustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Tracl< Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 ofthe plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managernent Track Designation Forrn specifying the track

to which that defendant believes the case should be assigned
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Hunian Services denying plaintiff Social Security Benefits.

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 5 3.2.

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos '

(e) Special Managernent - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special
management cases.)

(t) Standard l\/Ianagennent ~ Cases that do not fall into any one of the other tracks

()

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()

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Date Attorney-at-law Attorney for

 

 

T'elephone FAX Number E-Mail Address

{ctv. 660) iri/02

 

 

 

 

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Civii Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court vvill assign cases to tracks (a) through (d) based on the initiai pleading

(b) in all cases not appropriate for assignment by the clerk of court to tracks (a) through (d}, the
plaintiff shall submit to the clerk of court and serve vvith the complaint on all defendants a case management
track designation form specifying that tire plaintiff believes the case requires Standard l\/lanagement or
Special Management. ln the event that a defendant does not agree vvith the plaintiff regarding said
designation, that defendant shall, vvith its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation forrn specifying the track to Which that
defendant believes the case should be assigned

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any tiine.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction `

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
- procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
f of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
{See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Managernent cases Wili usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Cornplex Litigation. The first manual Was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d Was prepared in i985. This term is
intended to include cases that present unusuai problems and require extraordinary treatment See §O.l of the
first manual Cases may require special or intense management by the court due to one or more of the
' following factors.' (i) large number of parties; (2) large number of claims or defenses; (3) complex factual

issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; {8) decision needed Within an exceptionally
short time; and {9) need to decide preliminary issues before final disposition It may include two or more
related cases, Complex litigation typically includes such cases as antitrust cases; cases involving a iarge
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircrafr crashes or marine disasters; actions brought
by individual stockholders ; stockholders derivative and stockholders representative actions; class actions or
potential class actions ; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex litigation and Manual for Cornplex Litigation
Second, Chapter 33.

 

 

 

 

 

 

Case 2:10-Cv-03542-I\/|AI\/| Document 1 Filed 07/20/10 Page 5 of 70
UNITED STATES DISTRICT COURT

FOR TI~IE EASTERN DISTRICT GF PENNSYLVANIA _ DESIGNATEON FORM to be used by counsel to indicate the category ot` the case for the purpose of
assignment to appropriate calendar.

AdaressofPiainiirf; 8090 Engineer Road, San Diego, CA 9lel

Addresseroefendam; 601 Willowbrook Lane, West Cl:iester, PA 19382

placeG§Awidem,incidentol.»rransacgon; Tlieft of electronically filed records belonging to plaintiff in

_ , Us Reverse S:'a'e ForA diti'onaIS ace
San D:Lego, CA and conversion of eto'l(eri property fn Wesi?: dhester, PA.

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning l(l% or more of its stock?

 

(Attacli two copies of the l}isclosui'e Steternerit Form in accordance with Fed.R.Civ.P. '7.1(3}) Yes l:l No§l
Does this case involve multidistrict litigation possibilities? Yesl:l NO§
RELA TED CASE A : '
cil-li§-sim raaeva 3/17/2010 ria-iii er costs still

Case Nurnber: Judge Date Terminatcd:

 

pending)
Civil cases are deemed related when yes is answered to any of the following questions:

l. ls this ease related to property included iii an earlier numbered suit pending or within one year previously terminated action in this eourt?

Yes§ Nol:l

2. Does this case involve the Samc issue effect or grow out of the same transaction as a prior suit pending or within one year previously terminated

action in this couit?
YesE Nol:l

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yes l:§ NQ l:}.;

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes l:l No §

 

crvn.: (Piace v' in oNE cxrnoonv curry

A. Fea’eral Question Cases'. B. Diversi'ry Jiiri'sdz'ctz'an Cases:

l, |Zl indemnity Contract, Marine Contract, and All Other Contracts l. -Ei lnsurance Contract and Other Contracts

2. |Il FELA 2. El Airplane Personallnjury

3. El lones Act~Persoriallnjury 3, C| Assault,Defamation

4. |:l Antiti'ust 4. El Marine Personallnjury

5. 13 -Paterlt 5. |Il Motor Vehicie Persoriallrijury

6. El Labor-l\/ianagement Relations 6. 13 Other Personalln}'ury (Please
specify}

7. El CivilRights . |Il Products Liability

8. 13 Ha?>eas Ccrpus . 13 Products Liability_Asbestes

9. ij Securities Act(s) Cases 9. |Il All other Diversity Cases

lO. 13 Social Security Review Cases (Pleasespecify)

ll. |'_X All other Federal Questiori Cases
(Please Specify) Rack;eterririg and Corrupt Organizations, Computer Fraud and Al:»use, Tradeinarlt

ARBITRATION CERTIFICATION
(Check Appmpriate Ccitegory)
l. , counsel of record do hereby ccrtify:
il Pursuant to Local Civil Rulc 53,2, Sectioii S(c)(Z), that to the best ofmy knowledge and belief, the damages recoverable in this civil action case exceed the sum cf
$l 50 000.0(} exclusive ofinterest and costs;
§ Relief other than monetary damages is soughtv

DATE:

 

Attomey-at»LaW Attorney I.D.#
NOTE: A trial de novo will be a trial byjury only ifthere has been compliance With F.R.C.P. 33.

 

l certify that, to my knowledge, the Withiri case is not related to any case now pending or within one year previously terminated action in this court
except as noted above

DATE:

 

Attorney-at-Law Attomey I.D.#
CIV. 609 (6[08}

 

 

 

 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

COLLEGBSOURCE,' INC., a Califomia
eorporation,

Plaintiff,
v,

ACADEMYONE, 1NC., a Pennsyiv.mia

corporations and DAVID K. MOLDOFF, an

individual,

Defendants.

 

CiVIL ACTION

NO.

VERIFIED COMPLAINT:

1. Vioiation of U.S. Racketeer
Iniluenced and Corrupt
Organizations Act (18 U.S.C. §1964);
2. Violation of U.S. Racketeer
Influenced and Corrupt

Organizations Act (18 U.S.C. §1964);

3. Violation of U.S Computer Fraud
and _Abuse Act (18 U.S.C. §1030);

4. Breach of Contract;
5. Unjust Enrichment

6. Trademark Infringement under
U.S. Lanharn Act (15 U.S.C. §1114);

7. Unfair Competition under U.S.
Lanham Act (15 U.S.C. §1125(a));

8. False Advertising under U.S.
Lanham Act (15 U.S.C. §1125(3));

9. Declaration of Trademarl<
Invalidity Due to Fraud on U.S.P.T.O.

JURY TRIAL DEMANDED

 

COMPLAINT

 

 

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Plaintiff CollegeSource, Inc. brings this civil action against defendants Academy()ne, inc.

and David K. Moldoff, and, in support thereof alleges as follows:
JUR!SDICTION AND VENUE

l. Tliis Complaint arises under the United States Racl<eteer Influenced and Corrupt
Organizations Act (18 U.S.C. §§1961 ci Lq;), the Unitcd States Cornputer Fraud and Abuse Act
(lS U.S.C. §1030), the trademark and unfair competition laws of the United States (l5 U.S.C.
§§1051, §t_. LL), declaratory judgment laws of the United States (28 U.S.C. §§2201, eti @J, and
contract laW.

2. This Court has federal question jurisdiction over this matter pursuant to l5 U.S.C. ~
§1121 (Lanham Act), 18 U.S.C. §1964 (civii RiCO elaims) and 28 U.S.C. §1331. 'l`his Court has
supplemental jurisdiction over the cause of action herein for breach of contract pursuant to 28
U.S.C, §1367(3).

3. This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C.
§1332(3)(1). Plaintiff and defendants are citizens of different states and the amount in controversy
exceeds, exclusive of interest and costs, the sum of $75,000.

4. Tbis Court has personal jurisdiction over defendants and venue is proper in this
Distriet because, inter alio, defendants reside in this District, performed some of the wrongful acts
alleged herein in this District (as Well as the Southem District of California) andfor conduct
business in this District on a systematic and continuous basis

THE PARTIES

5. Plaintiff CollegeSource, lnc. (“CollegeSource”) is a California corporation With its

principal place of business in San Diego, California. CollegeSource is the successor in interest to

the Career Guidance Foundation (“CGF”), Whieh Was founded in 1971. CollegeSource provides

 

COMPLAlNT
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the public With information and data services related to college and university catalogs,
curriculums, course descriptions, course equivalencies and course transferability

6. Defendant AcademyOne, lnc. (“Academy()ne”) is a Pennsylvania corporation with
its principal place of business at 601 Willowbroolc Lane, West Chester, Pennsylvania 19382.
AcadernyOne is a junior competitor of CollegeSource. l

7. Defendant David K. Moldoff (‘.‘Moldoff”) is an individual residing at Johnny’s
Way in West Chester, Pennsylvania. Moldoff is President and C.E.O. of defendant AcadeinyOne.
On information and belief, defendant Moldoff is the founder of AcademyOne.

BACKGROUND
Career Guidance Foundation & CollegeSource., lnc.

8. CGF was founded in 1971 to support career guidance and planning in the
educational system by providing a complete collection of college catalogs onfin the best
dissemination media then availablel CGF operated as an IRC §501 (c)(3) non-proHt organization,
and generally did not charge its clients anything or only charged them enough to cover its
expenses. Funding for CGF came from Mr. Harry G. Cooper (“Coop`er”). Over its thirty-three
(33) year existence, CGF’s shortfall funding came soley from Cooper or loans guaranteed by
Cooper.

9. Before CGF was founded, libraries and admissions offices were heavily burdened
by the need to keep thousands of paper college catalogs in order to provide information to
rnatriculating college students, determine transfer equivalencies, and provide admissions and
transfer advice. Paper catalogs were required for each institution and each year in which potential
transfer students might have taken classes A typical yearis worth of paper catalogs Would fill a

bookshelf seven (7) feet tall and 23 feet long. Most universities maintained 15 to 25 years’ worth

 

COMPLAWT
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of catalogs.
lO. CGF revolutionized the college catalog industry by making information and data
available on microfiche that could be stored in far less physical space. On microfiche, a library

could store one (l) year’s worth of catalogs in a shoe-box.

 

ll. Considerable work was required to convert a catalog from paper format into

microtiche. First, the catalog had to be acquired nom the educational institution with permission

 

to make reproductions 'l`hen, each page of the catalog had to be precisely cut out with a razor.
Each catalog page was then positioned for microfiching along with four hundred ninety-four (494)
other pages, to make four hundred ninety-five (495) pages per tiche. Next, each tiche was made
into a master copy. The master copy was then duplicated.

12. lt is estimated that CGF saved the educational community over $40 million per
year in storage and acquisition costs.
CollegeSource’s Digitized Information

13. With the advance in computer technology in the 1990's, CGF began digitizing_
catalogs and course information Digitized catalogs and information did not require nearly as
much physical storage space as microfiche, let alone paper. Electronically stored information also
had the potential advantage of allowing word searches, copying and pasting - a very helpful feature
in light of the size of some ofthe catalogs. A year’s worth of college catalogs could now fit on six
(6) compact discs.

14. ln the early l990‘s, colleges and most publishers were still publishing in the
traditional Way, printed galley proofs Page-setting software, such as Quark Express, Pagemaker t
and ProPage, was years off. Adobe Reader even farther away.

15. Digitizing printed catalogs and course information presented additional hurdles that

 

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microfiching did not. While razoring the individual pages from each catalog was still required,
each page had to be converted into a digital format that allowed a computer to read the individual
letters and words on the page. This process is known as Optical Character Recognition (“OCR”).
CGF devoted significant research and development costs working with software companies, such
as Microsoft, Adobe and OmniPage, to develop more efficient OCR techniques

16. OCR’d documents are useless without a way to “view” them, just as lnternet
documents are a meaningless stream of characters (HTML Language) without a “viewer,” such as
lnternet Explorer or Netscape. CGF wrote the specifications for Microsoft’s very first “viewer” of
OCR’d documents, which was called Multi-Media Viewer. Eventually, Adobe’s “Portable
Docurnent Format” (.PDF) became the dominant format.

l7. Despite the advent of more efficient OCR techniques, quality control on CGF’s
digitized catalogs and course information was crucial. Even a one-percent (l%) error rate would
result in ten (l()) errors and unsearchable words on a one~thousand (1,000) Word page, and
thousands of unsearchable words per catalog. CGF’s targeted error rate after detailed quality
control was 0.005%.

lS. rl`he vast majority of CollegeSource’s digitized catalogs and course information are
the result of scanning and the OCR process.

19. While current whole catalogs are valuable, older “legacy” catalogs are valuable as
well, due to the need to determine equivalencies for students that are seeking to apply credits from
older course-work For example7 a student returning from years of absence (such a veteran
returning from deployment) may seek to apply his/her prior course-work from one institution
towards a degree credit at another institution

20. Recently, some colleges have started to provide their catalogs and course

 

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descriptions in digital form. Nevertheless, in` many cases, CollegeSourcc is required to convert all
files from their native format to Adobe PDF forrnat. CollegeSource also must decide whether or
not to include any pictures, replace them with blank boxes or degrade the pictures (for optimal
downloading speed). CollegeSource also bookmarks/linl<s the catalog for better look-up efficiency
in its final product

21. Over the past sixteen (16) years, CollegeSource has accumulated over 53,239 digital
whole catalogs, 44,700,000- digital course records (including course descriptions credits, names
and prerequisites) and course equivalencies (the “l)igitized Inforrnation”).' The Digitized
lnformation includes, but is not limited to, CollegeSource’s digitized whole catalogs and the
digitized course descriptions therefrom

22. CollegeSource’s comprehensive database of Digitized lnforrnation has significant
commercial value to businesses in the college transfer and information industries CollegeSource
has invested approximately 310,000,000.00 in its Digitized lnformation.

23. As universities and the general public became more familiar with digital searching
on the lnternet, college administrators and registrars began to request digitized sub-catalogs, such
as course descriptions .(and their related data). Administrators desired digitized sub-catalogs to
assist them with transferring course credits, Which is known as “course articulation.” Such systems
were well documented in the literature, though not yet computerized (See, Improving Artfculcrion
and Tmnsfer Relationships (new directions for community colleges ) by Frederick C. Kintzer
(Paperback - Sept. 1982)). in 2004 CGF, now CollegeSource, began development of a digitized
course articulation system

24. Because of its previous time consuming and expensive efforts in creating and

compiling the Digitized lnformation, CollegeSource was able to respond with alacrity to the

 

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emerging demand for an online database of course information only (name, credit hours,
description etc.). CollegeSource called its nacent digitized course articulation system the “Transfer
Evaluation Service” or “TES.”

25. Because of its previous, time consuming and expensive efforts in creating a
collection of digitized catalogs, CollegeSource was able to “cut and paste” course descriptions
from its existing whole digital catalog database into its new 'l`ES database. Nevertheless, as with
moving its collection of digitized catalogs from data CDs to the Internet, CollegeSource expended
significant time and money to move its collection of over 53,239 digitized college catalogs into
over 44,700,000 records (including course descriptions, credits, name, prerequisitesl etc.) in its
new TES database

26. CollegeSource also developed software to allow an evaluator to store a given course
equivalency in the TES database For example, an administrator could store “English lOl " at the
Um'versity of Michigan in 2001 as equivalent to “English 150" at the University of Tennissee in
2009. This capacity is referred to as “Equivalency,” “Course Articulation” or “Transcript
Reconciliation.” lt is particularly useful for state colleges being fed by county community colleges.

27. CollegeSource announced and delivered TES~ at the April 2006 AACRAO
(American Association of College Registrars and Admissions Officers) conference is San Diego,
California. AcademyOne introduced an arguably comparable product,.which AcadernyOne calls
its “CEMS” (College Equivalency Managernent System), over one year later, in June of 2007.

28. Prior to CollegeSource’s creation of its TES database, transfer administrators were
frequently forced to keep their own private notes regarding credits and equivalencies that had been
given to courses After TES, transfer administrators were able to see what credits other

administrators had given to courses

 

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29. CollegeSource’s current products incorporating the Digitized lnformation can be
categorized as follows: l) digitized individual whole college catalogs distributed online, for free
for personal use, to students, parents, counselors and teachers; 2) a collection of digitized whole
college catalogs from all universities distributed online, at a minimal fee, to libraries and similar
entities for personal use; and 3) a collection of individual course descriptions (course number,
credits, etc.) and their related data and equivalencies, dating back l6 years, distributed online, at a
minimal fee, to registrars, admissions, and transfer personnel.

CollegeSonrce’s Terrns of Use

30. CollegeSource makes its l)igitized lnformation available to authorized users online
at www.collegesource.com, www.collegesource.org, and tes.collegesource.org (the “Websites”).

3 l. Abobe’s embedded security code used by CollegeSource forces each catalog to be
opened to CollegeSource’s copyright “splash page” (page l). _

32. Each of CollegeSource’s Websites contain terms of use in conspicuous locations,
such that a visitor to the Websites is on notice of said terms and that the authorization to view and
use CollegeSource’s Digitized lnfonnation is restricted Such restrictions on the authorization to

view and use the Digitized lnformation include one or moreof the following:

rl`his means you may NOT:

* distribute digital catalog files to others,

* "rnirror" or include digital catalog files on an lnternet (or lntranct) server,
7 * link to CollegeSource digital catalog files from your website, or

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modify or re-use digital catalog files without the express written consent of
CollegeSource, ]nc. and the appropriate school

You may:

* print copies of the information for your own personal use,

* store the tiles on your own computer for personal use only, or

* reference non PDF documents on this server from your own documents

CollegeSource, lnc. reserves the right to revoke such authorization at any time, and

 

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any such use shall be discontinued immediately upon written notice from
CollegeSource, lnc.

 

LIMITATIONS ON USE.

a. Only one individual may access a Service at the same time using the same user
name or password, unless CollegeSource, Inc. agrees otherwise

b. 'l`he text, graphics, images, video, design, course description data, PDF college
catalogs, inforrnation, organization, compilation, look and feel, advertising and all
other protectable intellectual property, and all improvements, suggestions, and 7
derivations thereto and thereof (collectively, the "Content") available through the
Services is CollegeSource, lnc.'s property and is protected by copyright and other
intellectual property laws. Unless you have CollegeSource, lnc.'s written consent,
you may not sell, publish, broadcast, distribute, retransmit the information obtained
through any Service, or otherwise provide access to the Content received through
the Services to anyone, including, if applicable your fellow students or employees,
with the following two exceptions:

(i) You may distribute course description data from a Service in non-

electronic form to a few individuals for your own personal, non-commercial

use, without charge, provided you include all copyright and other proprietary

rights notices in the same form in which the notices appear in the Service,

original source attribution, and the phrase "Used with permission nom

CollegeSource, lnc."

(ii) You may use CollegeSource, Inc.'s "E-mail" service to e-mail

course description data from a Service to a few individuals for your

own personal, non~commercial use, without charge You are not

permitted to use this service for the purpose of regularly providing

other users with access to content from a Service

c. You agree not to rearrange or modify the Content. You agree not to create
abstracts dorn, scrape or display data nom the Content for use on another web site
or service You agree not to post any of the Content from the Services to weblogs, ‘
newsgroups, mail lists or electronic bulletin boards, without CollegeSource, lnc.'s
written consent rl`o request consent for this and other matters, please contact
CollegeSource Custotner Service

d. CollegeSource, lnc has expended considerable time, effort, money and expertise
to compile its data. CollegeSource, lnc. has implemented suitable precautions to
detect unauthorized use of catalogs, course descriptions, lists etc. including seeding
data to detect unlawful duplication, sale and re~use.

 

e. You agree not to use the Services for any unlawful or unauthorized purpose

 

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CollegeSource, Inc. reserves the right to terminate or restrict your access to a
Service if, in its opinion, your use of the Service does or may violate any laws, y
regulations or rulings, infringe upon another person's rights or violate the terms of
this Agreement. Also, CollegeSource, lnc. may refuse to grant you a user name that
impersonates someone else, is protected by trademark or other proprietary right law,
or is vulgar or otherwise offensive

33. CollegeSource’s digitized catalogs also contain prominent terms of use, Which
occupy the full second page of each catalog, such that users of the digitized catalogs are on notice
of said terms and are aware that any use of the digitized catalogs are subject to the same

restrictions Such restrictions on the authorization to view and use the digiti_zed catalogs are

 

 

 

substantially similar to the following:

This means you may NOT:

* distribute digital catalog files to others,

* "mirror" or include digital catalog files on an lnternet (or lntranet) server, 1

* modify or re-use digital catalog files without the express written consent of §
CollegeSource ® and Career Guidance Foundation and the appropriate l
school.

You may:

* print copies of the information for your own personal use,

"‘ store the files on your own computer for personal use only, or

* reference this material from your own documents

CollegeSource ® and Career Guidance Foundation reserves the right to revoke

such authorization at any time, and any such use shall be discontinued immediately

upon written notice from CollegeSource ® and Career Guidance Foundation.
Aeadevane Attempts to License CollegeSource’s Digitized Inforrnation

34. Defendant AcademyOne is a 35-year junior competitor of CollegeSource in the
college transfer and information industry. Lil<e CollegeSource before it, AcademyOne wished to
offer information and data services on the lnternet related to equivalencies, course articulations,

transcript reconciliations and/or college transfer.

35. On information and belief, AcademyOne recognized that capturing the data required

 

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for its services from the data’s original sources (including legacy whole catalogs) would require an
investment of time and money similar to the years of time and approximately 310,000,000.00
invested by CollegeSource. AcademyOne recognized the value of creating a database of
equivalencies, course articulations andjor transcript reconciliations from information that had
already been di`gitized. With access to CollegeSource’s Digitized Information, Academy()ne
would be able to “cut and paste” CollegeSource’s course descriptions into AcadernyOne’s
competing website’s databases. Access to CollegeSource’s Digitized ]nformation would allow
AcademyOne to avoid this investment in acquisition, scanning/ OCR, and `quality control costs.
36. For over three (3) months, AcademyOne attempted to lawfully acquire the right to
exploit CollegeSource’s library of Digitized lnformation. AcademyOne’s efforts included, but
were not necessarily limited to:
a. Exploratory phone calls;
b. On October 4, 2005 AcademyOne Vice President Ed Johnson emailed
CoilegeSource sales representative Dave Hunt and requested the “cost to obtain
ALL your catalogs in electronic form, ASAP.” Mr. Johnson contacted
CollegeSource after having signed up for a free trial of CcllegeSource’s digitized
college catalog service.
c. On Decernber 20, 2005 AcademyOne’s Peggi Munl<.ittrick (Director of
Marketing) emailed CollegeSource “to determine whether CollegeSource had the
interest and/or ability to provide {AcademyOne] with an electronic file of courses
that could be loaded into our course inventory.” Like Mr. Johnson, Ms. Munkittrick
had already signed up for a free trial of CollegeSource's digitized college catalog

service

 

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d. Acaderny()ne’s Ms. Munkittrick again emailed CollegeSource on January
25, 2006 “...to determine whether a conversation is warranted to discuss how our
companies might benefit from working together in an effort to create an online
course inventory.”

37. The general purpose of AcadernyOne’s phone calls and emails was to license access
to, and commercial use of, CollegeSource’s digitized college catalogs for the purpose of extracting
certain course description data (commonly called “data mining”i or “scraping”) for commercial use
by AcademyOne. Acade_myOne also desired to distribute entire whole catalogs.

38. CollegeSource declined AcadernyOne’s requests to license the Digitized
information

RICO CASE STATEMENT
Misconduct, Goals and Basis of Liabilitv

39. Defendant Moldoff and defendant AcademyOne engaged in conduct that violated
18 U.S.C. §1962(c) and (d).

40. On information and belief, the goals of defendants and their co-conspirators,
through their acts of racketeering alleged herein, were:

a. To steal CollegeSource’s Digitized Information;

b. To avoid, through theft, the high costs of acquisition incurred by
CollegeSource in relation to the Digitized Information;

c. 'i`o unfairly compete with CollegeSource in interstate commerce with the
stolen Digitized lnformation;

d. To cover up the theft of CollegeSource’s Digitized lnforrnation, through

perjury and/or the obstruction of justice when necessary; and

 

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e. To escape liability for the theft of CoilegeSource’s Digitized Information.

41. On information and behef, defendant Moldoff participated in an enterprise
consisting of defendant AcademyOne (the “AcademyOne Enterprise”) through a pattern of
racketeering activity that includes the interstate transportation and receipt of stolen property (18
U.S.C. §§2314 and 2315), wire fraud (18 U.S.C. §1343) and obstruction ofjustice (lS U.S.C.
§1503). ln addition to participating in the racketeering activity of the AcadernyOne Enterprise
directly, defendant Moldoff operated and managed defendant AcademyOne, and used it to conduct,
through interstate commerce, a pattern of racketeering activity.

42. On information and belief, defendant Moldoff and defendant AcadernyOne
participated in an enterprise consisting of defendant Moidoff, defendant AcademyOne and Bejing
Zhongtian-Noah Sports Science Cornpany, Ltd., a Chinese limited liability company (“Noah”),
through a pattern of racketeering activity that includes the interstate transportation and receipt of
stolen property (18 U.S.C. §§23 14 and 2315) (the “Noah Enterprise”). ln addition to
participating in the racketeering activity of the Noah Enterprise, defendant Moldoff and defendant
AcademyOne conspired with each other and Noah to engage in racketeering activity.
Identification of Victim and Inilll"{

43. CollegeSource Was one of the victims of defendants’ racketeering activity alleged
herein, suffered harm from defendants’ racketeering aetivity, and continues to suffer harm. The
extent of the harm to CollegeSource is believed to be in excess of $l ,()0(),000. The harm
proximately caused to CollegeSource as a result of defendants’ racketeering activity alleged herein
includes, but may not be limited to:

a. The loss of business due to defendants’ competing use of CollegeSource’s

Digitized Information, including, but not limited to, a $2,688,333.00 contract

 

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‘ awarded to defendant AcademyOne;
b. The'loss of a reasonable license for defendants’ extensive use of
CollegeSource’s Digitized lnformation;
c. The loss of value of ColiegeSource’s investment in the Digitized
Information and the competitive advantage conferred by the exclusive possession
thereof;
d. The loss of business due to defendants’ fraudulent misrepresentations and
omissions, including, but not limited to, a $2,688,333.00 contract awarded to
defendant Acadern ne;
e. The delay in enforcing CollegeSource’s rights due to defendants’ fraudulent
misrepresentations, omissions and obstructions; and
f. Legai fees and prejudice to claims for business injury resulting from
defendants’ obstruction of justice in the amount of at least $250,000.00.

Pattern Of Racketeering Activity

Predicate Act: Interstate Transportation and Receipt of Stolen Property ( l 8 U.S.C. §§23 l4 and
M)

44. The Digitized Information rightfully belongs to CollegeSource. The Digitized
Information is the result of a substantial investment of both time and money by CollegeSource and
its predecessor. The investment of time and resources by CollegeSource and its predecessor to
collect, convert and digitize the Digitized hiformation is currently estimated to be in excess of
$l0,0U0,000.

45. 'i`hrough its unsuccessful attempts to license the Digitized information from

CollegeSource and a failed Fecleral lawsuit contending that CollegeSource’s claim of ownership of

 

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the Digitized lnformation was false, AcademyOne has acknowledged and established that the
Digitized lnformation rightfully belongs to CollegeSource.

46. The Digitized lnforrnation is worth well in excess of $5,000.

47. The Digitized Information is of the type that is ordinarily the subject of commerce,
including interstate commerce The Digitized lnformation establishes the value of CollegeSource’s
digitized whole catalogs and Websites. The physical form of any goods that contain the Digitized
lnformation is secondary in every respect to the Digitized lnformation.

48. The Digitized Information is stored on CollegeSource’s servers, located exclusively
in San Diego, California.

49. On information and belief, defendants posed (or caused others to pose) as a
legitimate user (student, parent, faculty, guidance counselor, etc.) to gain access to
CollegeSource’s Digitized Information on CollegeSource’s Websites Defendants then took
CollegeSource’s Digitized lnformation for the purpose of using it to compete with CollegeSource
in interstate commerce Defendants did not inform CollegeSource that they intended to access
CollegeSource’s Websites for the purpose of misappropriating Collechource’s Digitized
Information and using it to compete against CollegeSource. -On information and belief, the
foregoing acts were performed under the management and direction of defendant Moldoff.

50. On information and belief, defendant AcademyOne, through and under the
management and direction of defendant Moldoff, conspired and entered into an Agreernent with
Noah whereby Noah would access CollegeS ource’s Websites to collect, copy and distribute
CollegeSource’s Digitized lnformation to AcademyOne for AcadeinyOne to use to compete with
CollegeSource in interstate commerce On information and belief, defendant AcadeinyOne,

through and under the management and direction of defendant lvloldoff, conspired and entered into

 

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an Agreement with Noah whereby Noah would populate AcademyOne’s online database with
CollegeSource’s Digitized Infonnation for AcademyOne to use to compete with CollegeSource in
interstate commerce Noah charged AcademyOne a fee to take CollegeSource’s Digitized ` _ 7 l
Information and provide it to defendants

51. Defendants were not authorized, either implicitly or explicitly, to access
CollegeSource’s Digitized lnformation for the purpose of competing with CollegeSource or other
commercial purposes, or to violate the terms of use on CollegeSource’s Websites and/or digital
catalogs.

52. Defendants knew or should have known of the terms of use on CollegeSourcc’s
Websites and digitized catalogs.

53. On information and belief, AcademyOne had actual knowledge of the terms of use
on CollegeSource’s Websites and digitized catalogs.

54. On information and belief, AcademyOne accepted the benefit of using
CollegeSource’s Websites and Digitized Information with knowledge of the terms ofuse on
CollegeSource’s Websites and digitized catalogs, and thereby assented to such restrictions of use.

55. Defendants’ taking and use of the Digitized lnformation exceeded any authorization
provided by CollegeSource.

56. Any authorization defendants had to access the Websites and Digitized information

terminated when defendants used or intended to use CollegeSourcc’s Digitized lnformation in an

 

unauthorized way.
57. CollegeSource reasonably expected that the users of its Websites and Digitized
lnformation would abide by CollegeSource’s terms of use disclosed on the Websites and digitized

catalogs.

 

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58. Defendants knew, or should have known, that CollegeSource would not have
granted defendants access to ColiegeSource’s Websites and/or Digitized information if defendants
would have informed CoilegeSource that defendants intended to usc access to CollegeSource’s
Websites for the purpose of competing with CollegeSource or other commercial purposes, or to ' §
violate the terms of use on CollegeSource’s Websites and/or digital catalogs. `

59. Defendants knew through their failed attempt to license the Digitized lnformation
that CollegeSource would not grant defendants the right to make commercial use of
CollegeSource’s Digitized lnformation.

60. Through the foregoing acts, defendants stole, converted or fraudulently took
CollegeSource’s Digitized Information. On information and belief, the foregoing acts were
performed under the management and direction of defendant Moldoff.

61. On information and belief, after defendants obtained ColiegeSource’s Digitized
lnformation, defendants transmitted, or had Noah transmit, the Digitized information to
AcademyOne’s computer(s) and databases outside of California, knowing the same to have been
stolen, converted or taken by fraud, in violation of 18 U.S.C. §2314. On information and belief,
the foregoing acts were performed under the management and direction of defendant Moldoff.

62. On information and belief, defendants distributed, transmitted, transported and sold ‘
ColiegeSource’s Digitized lnformation to the users of AcademyOne’s website(s) and databases
throughout the United States, knowing the same to have been stolen, converted or taken by fraud,
in violation of 18 U.S.C. §2314. On information and belief, the foregoing acts were performed
under the management and direction of defendant Moldoff.

63. On information and belief, defendants continue to distribute, transmit, transport and

sell CollegeSource’s Digitized Information to the users ofAcademyOne’s website(s) and databases

 

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throughout the United States, knowing the same to have been stolcn, converted or taken by fraud,
in violation of l8 U.S.C. §2314. On information and belief, the foregoing acts are performed
under the management and direction of defendant Moidoff.

64. In June of ZOlO, CollegeSource discovered AcademyOne offering current course
descriptions that had been taken from CollegeSource’s Digitized Inforrnation. Following
CollegeSource’s initial discovery in 2007 of Academy(}ne’s theft of the Digitized lnformation,

7 CollegeSource imbedded its current whole catalogs with a copyright notice that is invisible in the
.pdf document but appears in the event text from the .pdf is copied and pasted. Multiple current
course descriptions on AcademyOne’s website and database prominently display CollegeSource’s
embedded copyright notice.

65. On information and belief, defendants continue to store CollegeSourcc’s Digitized
Information on AcademyOne’s computer(s) and databases, knowing the same to have been stolen,
unlawfully converted or taken, in violation of 18 U.S.C. §2315. On information and belief, the
foregoing acts are performed under the management and direction of defendant Moldoff.

66. CollegeSource has been wrongfully deprived of the benefit, value and exclusive use
of its Digitized lnf`ormation.

67. Through its unauthorized and wrongful taking of CollegeSource’s Digitized
information, AcademyOne has avoided the substantial acquisition, scanning / OCR, and quality
control costs CollegeSource had incurred. lt has also avoided paying a license to CollegeSource,
as it had offered to do. Molcloff, on information and belief, personally benefitted as
AcademyOne’s President and C.E.O.

Predicate Act: Wire Praud (l 8 U.S.C. §l343)

68. In April of 2007, after CollegeSource terminated negotiations with AcademyOne for

 

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use of its college catalog database, CollegeSource discovered AcademyOne offering
CollegeSource’s digitized whole catalogs for distribution on AcademyOne’s interactive
collegetransfer.net Website. Following a brief investigation, CollegeSource discovered
approximately six hundred and eighty (680) of its digitized whole catalogs being offered on
AcademyOne’s website. Each of these 680 catalogs contained CollegeSource’s terms of use on
their entire second page.

69, On April 205 2007, CollegeSource delivered a letter to Acaderny()ne demanding
that AcademyOne cease and desist its use of CollegeSource’s Digitized lnfo'rmation.

70. On information and belief, defendants devised or intended to devise a scheme or
artifice to defraud On April 23, 2007, defendant Moldoff, as President and C.E.O. of
AcademyOne, emailed CollegeSource in interstate commerce in response to CollegeSource’s April
20, 2007r demand (the “Response”). ln the Response, defendants falsely represented for the
purpose of executing such scheme or artifice that they had “removed ALL course catalog PDF tiles
as of this afternoon and are worlting to determine actually how many catalogs are in question have
[sic] your copyright statement.” Defendants represented that they Would “honcr [CollegeSource’s]
request and remove the content.” Defendant Moldoff would later falsely declare that all .PDF files
were removed (See Paragraph 109).

7 l. Defendants’ representations in the Response that they had “removed ALL course
catalog PDF tiles” and would “honor your request and remove the content” were fraudulent
misrepresentations or omissions reasonably calculated to deceive persons of ordinary prudence and
comprehensionl All defendants had done was remove hypertext “links” to CollegeSource’s
digitized catalogs from their web-pages However, defendants retained ColiegeSource’s Digitized

information on their computer(s) and server(s). CollegeSource’s digitized whole catalogs Werc still

 

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available at the same internet addresses (Universal Resourse Locators, “URL”). Defendants
continued to utilize CollegeSource’s Digitized lnformation to “scrape” data and populate
AcademyOne’s competing database with, inter alia, course descriptions from CollegeSource’s
digitized whole catalogs. Defendants never removed the information in AcademyOne’s database
taken nom CollegeSource’s Digitized lnforrnation.

72. In addition to the initial copying of at least 680 of CollegeSource’s digitized whole
catalogs, defendants copied the descriptions from additional CSI college catalogs, up to the
present, and pasted them into the course descriptions on AcadernyOne’s website. That
AcademyOne’s course descriptions were copied from CollegeSource’s Digitized lnforrnation is
memorialized by, inter alia, the presence of the same random errors on AcademyOne’s Websites
and information that appear in CollegeSource’s original Digitized Information and the presence of
imbedded CollegeSource copyright notices.

73. Defendants’ representations in the Response that they had “removed ALL course
catalog PDF frles” and would “honor your request and remove the content” were made knowingly
to cover up defendants’ continuing use of the Digitized information and with the intent to deceive
CollegeSource into believing that AcademyOne had ceased,-or would cease, all use of
CollegeSource’s Digitized lnformation. At the very minimum, defendants’ foregoing
representations were made with reckless disregard for the truth.

74. Defendants’ representations in the Response that they had “removed ALL course
catalog PDF files” and would “honor your request and remove the content” constituted wire naud,
in violation of l8 U.S.C. §l343.

75. CollegeSource reasonably relied on defendants’ Response and did not conduct any

further inquiry into AcademyOne’s use of CollegeSource’s Digitized lnforrnation at that time.

 

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76. Unbeknownst to CollegeSource, during the time of CollegeSource’s reliance upon
the Response, AcademyOne retained CollegeSource’s originally stolen Digitized Information, was
continuing its pattern of theft to acquire more, and was using CollegeSource’s Digitized
lnformation to build a competing database and course articulation service.

77. On lune 9, 2006, in an attempt to monopolize the college transfer marketplace,
defendant AcademyOne (through Ms. Lin Zhou and l\/ls. Peggi Munl<_ittrick) filed two patent
applications for college transfer / course articulation services. 'l`he iirst, Application No.

l 1/450,712, was entitled “Systern and method for providing educational course data.” The sccond,
Application No. l 1/450,761, was entitled “System and method for managing educationl [sic]
courses.”

78. AcademyOne’s patent applications (through Ms. Lin Zhou and Ms. Peggi
Munl<ittrick) failed to disclose prior art that rendered the supposed “inventions” obvious, clearly
anticipated, unoriginal and not novel. The United States Patent and Trademark Offlce rejected
both applications and declined to issue either patent.

Predicate Act: Wire Fraud (lS U.S.C. §1343)

'79. On or around April l, 2008, the South Carolina Department of I-ligher Education
issued a “Request for Proposal”(or “RFP”) , which solicited bids from companies for a “Course
Articulation and 'l`ransfer System.” 'l`he RJFP required any response to be submitted online.

80. Both defendant AcademyOne and CollegeSource responded to the RFP.

81. Defendant AcademyOne’s response to the RFP was executed by defendant Moidoff
as AcadernyOne’s “Chairman / Chief Executive Officer.”

82. Defendant AcademyOne’s response to the RFP was submitted to the South Carolina

Department of Higher Education through the wires in interstate commerce

 

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83. On information and belief, defendants devised or intended to devise a scheme or
artifice to defraud. Defendant AcademyOne’s response to the RFP contained fraudulent
misrepresentations and omissions reasonably calculated to deceive persons of ordinary prudence
and comprehension for the purpose of executing such scheme or artifice to defraud ln
AcademyOne’s response to the RFP, defendants did not disclose that AcademyOne’s website and
database(s) offered in response to the RFP were populated with Digitized lnformation stolen from
CollegeSource. To the contrary, defendants falsely represented that “AcademyOne is the sole _
owner of. . .all databases and all...copyrights and other proprietary rights of any kind or nature
whatsoever related thereto.” The foregoing omission and representation were false because 7
defendants had knowingly stolen CollegeSource’s Digitized information and populated
AcademyOne’s database and website offered in response to the RFP therewithl

84. On information and belief, defendants’ fraudulent misrepresentations and omissions
in AcademyOne’s response to the RFP were made knowingly and with the intent to deceive the
Scuth Carolina Department of Higher Education into believing that AcademyOne Was the sole
owner of the contents of its database and website offered in response to the RFP. At the very
minimum, defendants’ misrepresentations or omissions were the result of a reckless disregard for
the truth.

85. Defendants’ omissions and misrepresentations in AcademyOne’s response to the
RFP that “AcademyOne is the sole owner of...all databases and all...copyrights and other
proprietary rights of any kind or nature whatsoever related thereto” constituted wire fraud, in
violation of lS U.S.C. §1343.

86. CollegeSource complained to the South Carolina Commission of Higher Education

hearing examiner that AcademyOne’s bid offered information and data that had been stolen from

 

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CollegeSource. On August 25, 2008, the South Carolina hearing examiner ruled that the issue
presented a dispute between private parties to be redressed by the Courts.

87. ln reliance upon AcademyOne’s fraudulent misrepresentations and omissions in its
response to the RFP, the South Carolina Department of Higher Bducation awarded its contract to
AcademyOne. The total potential value of the contract was estimated at $2,688,333.{}0.

Predicate Act: Obstruction of Justice (18 U.S.C. §1503)

88. On October 27, 2008, CollegeSource sued AcademyOne in the United States
District Court for the Southern District of California, Case No. 3:08-cv-01987-'H-CAB (the
“California Action”). CollegeSource’s Complaint in the California Action pled claims for
violation of the United States Computer Fraud and Abuse Act (18 U.S.C. §1030(g)), violation of
the California Computer Crimes Statute (Cal. Pen. Code §SGZ(e)), breach of contract,
misappropriation and unjust enrichment

89. I_n retaliation for the California Action, AcademyOne brought an action against
CollegeSource in the Eastem District of Philadelphia, AcademyOne, lnc. v. CollegeSonrce, Inc.,
GS-cv-S'/'O'/ (the “Pennsylvania Action”).

90. AcademyOne’s Pennsylvania Action Was dismissed on CollegeSource’s motion for
summary judgment AcadernyOne’s time to appeal has lapsed.

91. On December 3, 2008, AcademyOne filed a motion to dismiss the California Action
for lack of personal jurisdiction

92. On December 3, 2008, in support of its motion to dismiss, AcademyOne filed a
declaration of defendant Moldoff (the “First Moldoff Declaration”). ln the First Moldoff
Declaration, defendant Moldoff swore to the following statement that defendants knew contained

false representations to the Southern District of California:

 

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Representin`g AcadernyOne, Ivisited California iii March 2008. That visit,

however, was only to attend and sponsor a keynote speaker on energy conservation

at a policy conference of state higher education executives Hz'gher education

institutions were not represented at this conference The uttendees at the

conference were policy-level udininistrutors, not actual buyers ofAcudemyOne ’s

products
(ltalics added).

93. Defendants’ representations to the Southern District of California that “[h]igher
education institutions were not represented at this conference” and that the attendees at the
conference in California were “not_ actual buyers of AcademyOne’s products,” Were false and
defendants knew them to be false.

94. On December 4, 2008, in support of its motion to dismiss, AcademyOne filed an
amended declaration of defendant Moldoff (the “Second Moldoff Declaration”). In the Second
Moldoff Declaration, defendant Moldoff swore to the same statement in the First Moldoff
Declaration, above, that defendants knew contained false representations to the Southem District of
California.

95. AcademyOne’s motion to dismiss was denied without prejudice to refile, following
jurisdictional discovery ln denying AcademyOne’s motion without prejudice, the Southern
District of California relied upon the First Moldoff Declaration and Second Moldoff Declaration.

96. On July 28, 2009, following jurisdictional discovery and a second motion to dismiss
that was mooted by the filing of an amended complaint, AcademyOne filed a third motion to
dismiss for lack of personal jurisdictionl

97. On July 28, 2009, in support of its third motion to dismiss, AcademyOne filed a

declaration of defendant Moldoff (the “Third Moldoff Declaration”). In the Third Moldoff

Declaraticn, defendant Moldoff swore to the following statement that defendants knew contained

 

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false representations to the Southern District of California:

Representing AcademyOne, l visited California only one time. That visit was to

attend a conference in San Diego in August 2008` that was held by the State Higher

Education Executive Officers ("SHEEO"). At the conference, AcademyOne

sponsored a keynote speaker on energy conservation Higher education institutions

were not represented at the conference The uttendees were policy-level

administrators not actual buyers of AcadeinyOne's products.

(Italics added).

98. Defendants’ representations to the Southern District of California that “{h]igher
education institutions were not represented at the conference,” and the attendees at the Si-IEEO
conference were “not actual buyers of AcademyOne’s products,” were false and defendants knew
them to be false. Defendant made said representations to counter CollegeSource’s evidence in the
California Action that personal jurisdiction in California is proper.

99. CollegeSource was also present at the conference referenced in the First Moldoff
Declaration, Second Moldoff Declaration and Third Moldoff Declaration. Higher education
institutions were represented at the conference 'l`he attendees at the conference were
AcademyOne’s and CoilegeSource’s target market.

lOO. in the Pennsylvania Action, in an unsuccessful attempt to show that “College
Transfer” was AcademyOne’s supposed trademark, defendant Moldoff (on behalf of AcademyOne)
submitted a declaration in which he swore the attendees at the conference referenced in the First
Moldoff Declaration, Second Moldoff Declaration and Third l\/loldoff Declaration “in particular
are a target audience because their designees have direct oversight over the transfer programs at
their institutions.”

lOl. ln the Pennsylvania Action, in an unsuccessful attempt to show that

“College'l`ransfer” was AcademyOne’s supposed trademark, defendant Moldoff (on behalf of

 

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AcademyOne) submitted a declaration in which he swore: “AcademyOne spent over [$(rcdacted)]
to attend conferences held by, or become members [sic] of, educational state agencies ~ precisely
AcademyOne’s target market for www,collegetransfer.net - and associations to promote
www.collegetransfer.net...."l`hese organizations included:...The State Higher Education Executive
Organization (‘ SHEEO’).”

102. The sworn statements in defendant Moldoff’s declarations submitted in the
California Action and the Pennsylvania Action are inconsistent The statements in defendant
Moldoff’s sworn declarations in the California Action were false, or the statements in his sworn
declaration in the Pennsylvania Action were false, or both were false.

103. In the Third Moldoff Declaration, defendant Moldoff swore to the following
statement that defendants knew contained false representations to the Southern District of
California:

l directed the Chinese contractor's {Noah’s} work. l arn familiar with the software

and process that the contractor used to download the files and extract course

descriptions from the .html files or .pdf catalogs. When the contractor collected

these course descriptions, it downloaded the digital content as complete files

without opening each individual jile. No copyright notice or 'Zspiask " page was seen

by the contractor or any AcadenryOne employee during theprocess.

(ltalics added). l

104. ln the California Action, defendants represented that CollegeSource’s .PDF college
catalog files and course information were never seen “by the contractor or any AcademyOne
employee” because of an “Excel macro” that scraped the data from the files. Defendant Moldoff
declared, in the Third Moldoff Declaration, that he was “familiar with the software and process

that the contractor used.”

105. ln the Pennsylvania Action, the l-lon. Judge John R. Padova ordered AcademyOne

 

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to produce the “Excel macros” that defendants supposedly used to scrape the data in
CollegeSource’s digitized whole catalogs without opening them. Academy()ne did not produce the
“Excel macros.” To justify its failure to produce the “Excel macros” in the Pennsylvania Action,
AcadernyOne represented that defendants did not have access or control reiating thereto. On
information and belief, AcademyOne did not make any reasonable attempt to locate the “Excel
macros.” The “Excel macros” were not produced in response to discovery ordered by the Court.

106. Defendants’-representation to the Southern District of California that neither Noah
(the “Chinese contractor”) nor AcademyOne ever opened CollegeSource’s digitized whole catalogs
is false and defendants knew it to be false. CollegeSource’s digitized whole catalogs were
necessarily opened in order for AcademyOne’s database to be populated with CollegeSource’s
digitized course descriptions The fact that Noah opened and viewed CollegeSource’s digitized
whole catalogs was confirmed by the deposition testimony of AcademyOne’s senior manager of
development Dr. Lin Zhou. lt is also confirmed by, inter oiia, the presence of CollegeSource’s
embedded copyright notices that only are displayed when text has been copied from a .pdf file.

107. fn the Third Moldoff Declaration, while acting on behalf of AcademyOne,
defendant Moldoff swore to the following statement that defendants knew contained false
representations to the Southern District of Califomia:

AcademyOne posted 18,000 .pdf files that it collected nom these websites in April

2006. In April 2907, Kerry Cooper of CollegeSource gave me a letter claiming

rights to some of the .pdf files. Shortly after receiving the letter, AcadernyOne

removed oil ofthe .pcifjiles, but did not admit or agree that CollegeSource had

rights in thern, AcademyOne did not retain copies ofihesefiies on its servers.

AcademyOne does not possess otherfiles, either on irs computers or website,

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(Italics added).

108. Defendants’ representations to the Southern District of California that Academy()ne

 

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“removed all of the .pdf files,” “did not retain copies of these files on its servers, and “does not
possess other files, either its computers or website, digitized by CollegeSource,” were false and
defendants knew them to be false. Since April 2007, defendants have retained and added to
CollegeSource’s Digitized Information on their computers, and have continued to populate
AcademyOne’s competing database with CollegeSource’s Digitized lnformation. This fact is
established by, inter alia, the presence of the same random errors in defendants’ data as are present
in the Digitized Information. This fact is further established by, inter alia, the presence of
CollegeSource’s imbedded copyright notice on course descriptions and data'copied irorn
CollegeSource’s digitized whole catalogs.

l09. The Southern District of California relied upon the Third Moldoff Declaration, and
the foregoing false statements contained therein, in granting AcadernyOne’s third motion to
dismiss for lack of personal jurisdiction In its August 24, 2009 Order granting AcademyOne’s
motion, the Southern District of California found, inter alia:

ln August 2008, AcademyOne’s CEO visited California to attend a policy

conference of state higher education executives and sponsor a speaker on energy

conservation (Moldoff Decl. 1[ 14.) AcademyOne states that no actual buyers ofits

products were in attendance at the conference and that no business resulted from
the conference (ld.) ‘

Defendant explains that it collected information for its database by hiring a
contractor to visit the websites of thousands of colleges (MoldoffDecl. il 6-8.) The
college’s course descriptions were downloaded without being openedl such that
Acaa'emyOne never saw Piainti)j”s terms ofase statement allegedly present on
approximately 680 of these documents (Id...)

(Italics added).
l 10, After the California Action was fried, AcademyOne was under the obligation to not

destroy evidence relating to the unauthorized taking of CollegeSource’s Digitized lnformation and

 

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assertion of personal jurisdiction over AcademyOne alleged therein On information and belief,
AcademyOne was aware of Acaderny()ne’s obligation to not destroy evidence

lll. On information and belief, AcademyOne, Moidoff reasonably believed that
electronic evidence of AcadernyOne’s taking of CollegeSource’s Digitized Information would be
relevant to, and requested in, the California Action. On information and belief, AcademyOne,
Moldoff reasonably believed that AcadernyOne’s e-mail contacts would be relevant to and
requested in the California Action.

112. ln the California Action, CollegeSource requested the production of AcadernyOne’s
and Noah’s log files and audit trails for the acquisition of data for AcadeinyOne’s database. Such
log files and audit trails would be proof of AcademyOne’s unauthorized taking of CollegeSource’s
Digitized Inforrnation. On information and belief, with the intent to corruptly intluence, obstruct
and/or impede the due administration ofjustice, defendant AcademyOne and Noah destroyed or
withheld log files and audit trails for the acquisition of data for AcademyOne’s database. On
information and belief, such destruction and withhofding of evidence was performed under the
management and direction of defendant Moldoff.

l 13. ln the California Action, CollegeSource requested the production of AcademyOne’s
e~mail contacts. Such files would provide proof of AcadernyOne’s extensive contacts with
California and support personal jurisdiction over AcademyOne in the Southern District of
California. On information and belief, with the intent to corruptly influence, obstruct and/or
impede the due administration ofjustice, defendant AcademyOne destroyed or withheld its
Caiifornia e-mail contacts On information and belief, such destruction and withholding of
evidence was performed under the management and direction of defendant Moldoff.

ll4. AcademyOne argued the purported lack of evidence reiating to the unauthorized

 

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taking of CollegeSource’s Digitized information and assertion of personal jurisdiction over
AcademyOne alleged in the California Action. On information and belief, the Southem District.of
California would not have granted AcademyOne’s third motion to dismiss if the evidence
destroyed or withheld by AcadernyOne had been provided to the Court.

l 15. CollegeSource timely appealed the Southern District of California’s grant of
AcademyOne’s third motion to dismiss to the Ninth Circuit Court of Appeals. Said appeal is still
pending. AcademyOne continues to rely upon the false statements in the First I\/loldoff
Declaration, Second Moldoff Declaration, and Third Moldoff Declaration, AcademyOne also
continues to rely upon the absence of the evidence that it has destroyed or withheld, as set forth
above.

116. Defendants’ false statements in the First l\/loldoff Declaration, Second Moldoff
Declaration, and Third Moldoff Declaration, and its destruction and/or withholding of evidence, as
set forth above, obstructed and halted the judicial process. Defendants’ foregoing conduct harmed
CollegeSource in the pursuit of its claims against AcademyOne to redress business injuries
AcademyOne caused CollegeSource to suffer, Due to defendants’ false statements and destruction
and/or withholding of evidence, as set forth above, CollegeSource has suffered, and continues to
suffer, great expenses, delays and inconvenience in its prosecution of the claims in the California
Action.

117. Defendants intended for the false statements in the First Moldoff Declaration,
Second Moldoff Declaration and Third Moldoff Declaration, and the destruction and/or
withholding of evidence, to obstruct or impede the due administration of justice.

118. By way of submitting the First Moldoff Declaration, Second Moldoff Declaration

and Third Moldoff Deciaration to the Southern District of California and relying thereon in their

 

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motions to dismiss, defendants corruptly endeavored to influence, and did influence, the Southern
District of California in the discharge of its duty to adjudicate the California Action, in violation of
18 U.S.C. §1503.

ll9. By way of submitting the First Moldoff Declaration, Second Moldoff Declaration
and Third Moldoff Declaration to the Southern District of Califomia and relying thereon in their
motions to dismiss, defendants corruptly endeavored to influence, obstruct and/or impede, and did
influenee, obstruct and/or impede, the due administration ofjustice, in violation of 18 U.S.C. .
§1503.

120. By way of submitting the First Moldoff Declaration, Second Moldoff_ Declaration
and Third Moldoff Declaration to the Southern District of Califomia and relying thereon in their
motions to dismiss, defendants corruptly influenced, obstructed and/or impeded the due
administration ofjusticc, in violation of 18 U.S.C. §1503.

lZl. Through the destruction and/or withholding of evidence, as set forth above, and
relying thereon in their motions to dismiss, defendants corruptly endeavored to influence, and did
influence, the Southern District of California in the discharge of its duty to adjudicate the
California Action, in violation of 18 U.S.C. §1503.

122. 'l`hrough the destruction and/or withholding of evidence, as set forth above, and
relying thereon in their motions to dismiss, defendants corruptly endeavored to iniluence, obstruct
and/or impede, and did influence, obstruct and/or impede, the due administration of justice, in
violation of 18 U.S.C. §1503.

l23. Through the destruction and/or withholding of evidenee, as set forth above, and
relying thereon in their motions to dismiss, defendants corruptly iniluenced, obstructed and/or

impeded the due administration ofjustice, in violation of 18 U.S.C. §1503.

 

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Predicate Act: Wire Fraud (18 U.S.C. §1343)

 

124. AcademyOne has used the domain name “wwW.CollegeTransfer.net" to exploit
CollegeSource’s Digitized lnformation without CollegeSource’s authorization, and continues to do
so to this day.

125. On July 3, 2009, while the California-Action and Pennsylvania Action were
pending, AcadernyOne filed Application Serial N0.77774054 with the United States Patent and
Trademarl< Office (“USPTO”) to register “CollegeTransfer.net” as a service mark (the
“Application”).

126. The Application was signed by defendant Moldoff.

127. On information and belief, defendants transmitted the Application to the USPTO
through the wires in interstate commerce

128. In the Application, defendants falsely represent that AcademyOne first used
“College'l`ransfer,net” in commerce “at least as early as 12/01/2005.”

129. Defendants’ representation in the Application that AcademyOne first used
“College'l.`ransfer.net” “at least as early as 12/01/2005” was false and defendants knew it to be
false.

130. AcademyOne did not use CollegeTransfer.net in commerce until March of 2007. d

131. On information and belief, defendants devised or intended to devise a scheme or
artifice to defraud Defendants’ representation in the Application that AcademyOne first used
“College’l`ransfer.net” in commerce “at least as early as 12/01/2005” was made with the willful
intent to deceive the USP'l`O into issuing a registration to AcademyOne with a first use date of
12/0l/2005 for the purpose of executing such scheme or artifice to defraud

132. The USPTO relied upon defendants’ representation in the Application that

 

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AcadernyOne first used “CollegeTransfer.net” in commerce “at least as early as lZ/OleOOS” and
issued AcademyOne a registration on the Supplernental Register with a first use date of
l 2/0 1/2005 .

133. Defendants’ omissions and misrepresentations in AcademyOne’s Application
regarding AcademyOne’s use of “College'l`ransfer.net” constituted wire haud, in violation of 18
U.S.C. §1343.

Relatedness and Continuitv of Racketeering Activitv

134. Defendants’ foregoing acts of interstate transportation and receipt of stolen property
(lS U.S.C. §§23 14 and 2315), wire fraud (18 U.S.C. §1343) and obstruction ofjustice (18 U.S.C.
§1503) form alpattern of related racketeering activity. On information and belief, all had the same
or related purpose to steal CollegeSource’s Digitized Information, make unauthorized and unfair
commercial use thereof, cover it up and/or escape liability. On information and belief, the central
participants, defendants AcadernyOne and Moldoff, were the same. The target of the wrongful
conduct, CollegeSource, was the same.

135. Defendants’ foregoing acts of interstate transportation and receipt of stolen property
(18 U.S.C. §§23 14 and 2315), wire fraud (18 U.S.C. §1343)-and obstruction ofjustice (l8 U.S.C.
§1503) amount to and constitute a threat of continuing racketeering activity. Defendants’
racketeering activity began no later than April of 2007, when CollegeSource discovered defendants
making unauthorized commercial use of CollegeSource’s Digitized information and demanded that
defendants cease and desist therefrom. Defendants’ acts of interstate transportation and receipt of
stolen property (lS U.S.C. §§23l4 and 2315) continue to this day, as alleged above. Defendants’
acts of wire fraud (18 U.S.C. §1343) in relation to the RFP occurred in lurie 2008 and their acts of

obstruction of justice (18 U.S.C. §1503) began no later than December 2, 2008 and continue to this

 

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day.
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AcademyOne Ente;prise

136. The AcademyOne Enterprise consists of AcademyOne, lnc., a Pennsylvania
corporation

137. Defendant Moldoff is President and Chief Executive Officer of AcadernyOne. On
information and belief, defendant l\/ioldoff is also AcademyOne’s founder and Chairman of the
Board. On information and belief,- defendant Moldoff actively managed the-affairs of
AcadernyOne as an enterprise through a pattern of racketeering activity and used AcademyOne as a
vehicle through which unlawful activity was committed, as set forth above.

138. AcademyOne is a “corporation” and “distinct legal entity,” within the meaning of
18 U.S.C.§l961(4).

139. AcademyOne regularly engages in interstate commerce, including, but not limited
to, through providing course articulation and transfer services to individuals and state contracting
entities throughout the United States.

l40. On information and belief, the usual and daily activities of AcademyOne differ from
the acts of racketeering alleged herein. On information and belief, AcademyOne’s usual and daily
activity is to function as a legitimate business On information and belief, some of AcadernyOne’s
digitized catalogs and course information may have been acquired through sources other than
CollegeSource’s Digitized Inforrnation. l-Iowever, on information and belief, defendants have
destroyed the digital audit trail.

l4l. On information and belief, defendant Moldoff personally benefitted from the

racketeering activities through which the affairs of the AcademyOne Enterprise were conducted

 

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l42. As described more fully above, the AcadernyOne Enterprise conducted activities
related to the alleged pattern of racketeering activity including the interstate transportation and
receipt of stolen property (18 U.S.C. §§23 14 and 2315), wire fraud (l8 U.S.C. §1343) and
obstruction ofjustice (18 U.S.C. §l503):
a. AcademyOne employees, agents and contractors posed as legitimate users of
CollegeSource’s Websites to steal the Digitized lnforrnation;
b. AcademyOne entered into a contract with Noah, under which Noah stole the

Digitized Information and provided it to AcademyOne;

c. g AcademyOne received and stored the stolen Digitized Information;
d. AcadernyOne transported and sold the stolen Digitized Information;
e. AcademyOne made fraudulent misrepresentations to CollegeSource in

AcademyOne’s Response to CollegeSource’s demand for AcademyOne to cease
and desist from its unauthorized use of CollegeSource’s Digitized lnformation;

f. AcademyOne made fraudulent misrepresentations to the State of South
Carolina in AcademyOne’s response to the RFP;

g. AcadernyOne submitted and relied upon Moldoffs false statements in the
California Action

h, AcademyOne destroyed andfor withheld evidence relevant to the California
Action; and

i, AcademyOne submitted and relied upon Moldoffs false statements in its

Application to the USPTO for resgitration of “College'l`ransfer.net.”

Noah Enterprise

 

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7 143. The Noah Enterprise consists of defendant Moldoff, defendant AcademyOne and
Bejing Zhongtian~Noah Sports Science Company, Ltd., a Chinese limited liability company
(“Noah”).

144. On information and belief, the Noah Enterprise is an association in fact between
Noah and defendants The organization of the Noah Enterprise is based upon a written agreement
between Noah and defendants Under the agreement, Noah would gather information for
AcademyOne’s database(s)- and website and, upon information and belief, populate AcademyOne’s
database(s) and website therewith.- The Noah Enterprise functions as a continuing unit for the
purpose acquiring and populating AcademyOne’s database(s) and website with information On
information and belief, defendant Moldoff is in charge of and directs the activities of the Noah
Enterprise.

l45. ri`he l\loah Enterprise consists of more than defendants and is distinct from
defendantsl

146. The Noah Enterprise regularly engaged in and engages in interstate commerce,
including, but not limited to, through the interstate transportation and transmission of digital
property and sending and receipt of funds internationally and across state lines.

147. On information and belief, the usual and daily activities of the Noah Enterprise
differ from the acts of racketeering alleged herein. On information and belief, some of the
digitized catalogs and information acquired by the Noah Enterprise and used to populate
AcademyOne’s database(s) and website were acquired through sources other than CollegeSource’s
Digitized Information. However, on information and belief, defendants have destroyed the digital
audit trail.

148. On information and belief, defendants benefitted from the racketeering activities

 

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through which the affairs of the Noah Enterprise were conducted
l49. - As described more fully above, the Noah Enterprise conducted activities related to

the alleged pattern of racketeering activity including the interstate transportation and receipt of
stolen property (18 U.S.C. §§23 l4 and 2315) and obstruction ofjustice (18 U.S.C. §l503):

a. Defendants entered into a contract with Noah under which Noah would steal

the Digitized lnformation and provide it to AcademyOne;

b. Noah transmitted the stolen Digitized lnformation to defendants and, upon

information and belief, populated AcademyOne’s database(sj and website with the

stolen Digitized lnforrnation;

c. Defendants received the stolen Digitized information from Noah and stored
it;

d. Defendants transported and sold the stolen Digitized lnforrnation; and

e. Defendants and Noah destroyed andfor withheld evidence relevant to the

California Actionl
FIRST CAUSE OF ACTION
(Civil Racketeering)
[18 U.S.C. §1964] '
150. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 149 of this Complaint as though set forth in this cause of action.

l5 l. CollegeSource brings this cause of action against defendant AcademyOne only.
l52. CollegeSource brings this cause of action pursuant to 18 U.S.C. §1964.
l53. Defendant AcademyOne has conducted or participated in the conduct of the affairs

of the Noah Enterprise through a pattern of racketeering activity including the interstate

transportation and receipt of stolen property (18 U.S.C. §§23 14 and 2315), wire fraud (18 U.S.C.

 

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§1343) and obstruction ofjustice (18 U.S.C. §1503), in violation of 18 U.S.C. §1962(6).

154. Defendant AcadernyOne has conspired to conduct the affairs of the Noah Enterprise
through a pattern of racketeering including the interstate transportation and receipt of stolen
property (l8 U.S.C. §§23 14 and 2315), wire fraud (18 U.S.C. §1343) and obstruction ofjustice (18
U.S.C. §1503), in violation 0f18 U.S.C. §l962(d).

155. CollegeSource has been injured in its business or property by reason of
AcademyOne’s foregoing violations of 18 U.S.C. §1962.

156. WHEREFORE, CollegeSource is entitled to and seeks to recover from defendant
AcadeniyOne on this cause of action:

a. Threefold damages sustained by CollegeSource, in an amount believed to be
in excess of 33,000,000, pursuant to 18 U.S.C. §1962(0);

b. Costs of this suit, including a reasonable attorney’s fee, pursuant to 18
U.S.C. §1962(0);

c. Prejudgement interest to the extent allowable;

d. Appropriate equitable and injunctive relief, pursuant to, inter alia, 18 U.S.C.
§1962(a), including, but not limited to, preliminary injunctive relief, permanent
injunctive relief, and appropriate orders, including, but not limited to: ordering any
person to divest himself of any interest, direct or indirect, in any enterprise;
imposing reasonable restrictions on the future activities or investments of any
person, including, but not limited to, prohibiting any person from engaging in the
same type of endeavor as the enterprise engaged in, the activities of Which affect
interstate or foreign commerce; or ordering dissolution or reorganization of any

enterprise, making due provision for the rights of innocent persons;

 

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e. Such other or further relief allowed by law; and
f. Such other or further relief this Court finds appropriate
SECOND CAUSE OF ACTION
(Civil Racketeering)
[18 U.S.C. §1964]

l57. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 149 of this Complaint as though set forth in this cause of action.

158. CollegeSource brings this cause of action against defendant l\/loldoff onIy.

159. CollegeSource brings this cause of action pursuant to 18 U.S.C. §1964.

160. Defendant Moldoff has conducted or participated in the conduct of the affairs of the
AcademyOne Enterprise and Noah Enterprise through a pattern of racketeering activity including
the interstate transportation and receipt of stolen property (18 U.S.C. §§23 14 and 23l5), wire fraud
(18 U.S.C. §l343) and obstruction ofjustice (18 U.S.C. §1503), in violation of 18 U.S.C.
§1962(0).

161. Defendant Moldoff has conspired to conduct the affairs of the AcademyOne
Enterprise and Noah Enterprise through a pattern of racketeering including the interstate
transportation and receipt of stolen property (18 U.S.C. §§23 14 and 2315), Wire fraud (l 8 U.S.C.
§1343) and obstruction ofjustice (l8 U.S.C. §1503), in violation of18 U.S.C. §1962(d).

162, ColiegeSource has been injured in its business or property by reason of defendant
Moldoff’s foregoing violations of 18 U.S.C. §1962.

163. WHEREFORE, CollegeSource is entitled to and seeks to recover from defendant
Moidoff on this cause of action:

a. Threefold damages sustained by CollegeSource, in an amount believed to be

in excess of 83,000,000, pursuant to 18 U.S.C. §1962(0);

 

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b. Costs of this suit, including a reasonable attorney’s fee, pursuant to 18
U.S.C. §l962(c);
c. Prejudgement interest to the extent allowable;
d. Appropriate equitable and injunctive relief, pursuant to, inter alia, 18 U.S.C.
§1962(a), including, but not limited to, preliminary injunctive relief, permanent
injunctive reiief, and appropriate orders, including, but not limited to: ordering any
person to divest himself of any interest, direct or indirect, in any enterprise;
imposing reasonable restrictions on the future activities or investments of any
person, including, but not limited to, prohibiting any person from engaging in the
same type of endeavor as the enterprise engaged in, the activities of which affect
interstate or foreign commerce; or ordering dissolution or reorganization of any
enterprise, making due provision for the rights of innocent persons;
e. Such other or further relief allowed by law; and
f. Such other or farther relief this Couit finds appropriate
THIRD CAUSE OF ACTION
(U.S. Computer Fraud And Abuse Act)
[18 U.S.C. §1030] -
164. CollegeSource incorporates by reference the allegations contained in paragraphs 1
through 38, and 43 through 135, of this Compiaint as though set forth herein.
165. CollegeSource brings this cause of action against defendant AcademyOne only.
166. For statute of limitations purposes, this cause of action was commenced on October
27, 2008 When it was first filed in the California Action which is currently on appeal foliowing
dismissal for lack of personal jurisdiction The limitations period has been tolled pursuant to law

and/or equity including, but not limited to, 28 U.S.C §1631.

 

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167. Each of CollegeSource’s Websites, and the Digitized lnformation thereon, are
stored on computers in the State of California- that are used in or affecting interstate or foreign
commerce or communication CollegeSource’s Websites have subscribers/customers in multiple
states throughout the United States as Well as other countriesl CollegeSource even has military
bases and ships-on-the-sea as customers CollegeSource’s computers constitute a “protected
computer” Within the meaning of 18 U.S.C. §lOBO(e)(Z)(B).

168. AcademyOne was not authorized, either implicitly or explicitly, to access
CollegeSource’s Digitized information for the purpose of competing with CollegeSource or other
commercial purposes, or to violate the terms of use on CollegeSource’s Websites and/or digital
catalogs.

169. AcademyOne’s use of the Digitized information exceeded any authorization
provided to use the Digitized Information.

170. Any authorization AcadernyOne had to access the Websites and Digitized
lnformation terminated when AcademyOne used CollegeSource’s Digitized lnformation in an
unauthorized way.

171. CollegeSource reasonably expected that the users of its Websites and Digitized
lnfonnation would abide by CollegeSource’s terms of use disclosed on the Websites and digitized
catalogs.

172. AcademyOne knew, or should have known, that CollegeSource would not have
granted AcademyOne access to CollegeSource’s Websites and/or Digitized information if
AcademyOne would have informed CollegeSource that AcademyOne intended to use its access to
CollegeSource’s Websites for the purpose of competing With CollegeSource or other commercial

purposes, or to violate the terms ofuse on CollegeSource’s Websites and/or digital catalogs.

 

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173. Academy One knew as of the time it requested to obtain or use CollegeSource’s
Digitized lnformation and was then denied that CollegeSource would not grant AcademyOne
commercial use of its Digitized Information.

174. AcadernyOne knew when CollegeSource caught AcadernyOne publishing
CollegeSource’s Digitized information and demanded its removal that AcademyOne had no
authorization to use such information

175. On information and belief, Academy_One knowingly and with an intent to defraud
gave false information to access the Digitized hiformation on CollegeSource’s Websites,
disregarded CollegeSource’s terms of use, and obtained Digitized Information from CollegeSource
- which is of great value.

l76. AcademyOne’s conduct has caused loss to CollegeSource in an amount aggregating
at least 85,000.00 in a one-year period. The reasonable costs incurred by College Source include,
but are not limited to, the cost of responding to the offense and attempting to restore
CollegeSource’s the data, program, system or information to its condition prior to the offense.
Over $5,000 was paid to computer expert Michael Bandemer alone.

177. Prior to the offense, CollegeSource’s data, program, system or information was
available solely through authorized access to its California servers. As a result of the offense, the
integrity or availability of CollegeSource’s data, program, system or information has been
impaired, such that some of CollegeSource’s Digitized Information is now on AcademyOne’s
servers and out of CollegeSource’s control.

178. AcademyOne uses College’s Digitized lnformation without authorization to
compete with CollegeSource, increase it market share and increase its revenues to CollegeSource’s

damage. CollegeSource has also been damaged by this impairment to the integrity and availability

 

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of its data, program, system or information by incurring reasonable costs (including attorney fees)
to restore CollegeSource’s data, program, system or information to its condition prior to the
offense CollegeSource has incurred reasonable costs to protect itself from similar offenses in the
future

179. On information and belief, AcademyOne has violated 18 U.S.C, §lGBO(a)(Q)(C) by
intentionally accessing CollegeSource’s protected computer without authorization or exceeding
authorized access, and thereby obtaining information from CoiiegeSource’s protected computer

180. On information and belief, AcademyOne has violated 18 U.S'.C. §1030(a)(4) by
knowingly and with intent to defraud, accessing CollegeSource’s protected computer without
authorization, or exceeding authorized access, and by means of such conduct furthering the
intended fraud and obtaining anything of vaiue. The object of the fraud and the thing obtained was
CollegeSource’s Digitized information

181. On information and belief, AcadernyOne has violated 18 U.S.C. §lG$O(a)(S)(B) by
intentionally accessing CollegeSource’s protected computer without authorization, and as a result
of such conduct, recklessly causing damagel

182. On information and belief, AcademyOne has violated 18 U.S.C. §lO?)O(a)(S)(C) by
intentionally accessing CollegeSource’s protected computer Without authorization and as a result
of such conduct, causing damage and loss.

183. Pursuant to 18 U.S.C. §1030(g), CollegeSource is entitled to bring a civil action for
Academy()ne’s violations of 18 U.S.C. §1030.

184, WHEREFORE, CollegeSource is entitled to and seeks:

a, Compensatory damages in an amount to be proven at triai, but believed to be

in excess of $1,000,000, pursuant to 18 U.S.C. §lGBO(g);

 

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b. lnjunctive and other equitable relief, including, but not limited to,
preliminary and permanent injunctions, forfeiture or seizure of CollegeSource’s
Digitized information, and a constructive trust over any property which constitutes

or is derived nom CollegeSource’s Digitized Information, pursuant to 18 U.S.C.

§1030(s);
c. Costs of the action; and
d. Such other and further relief as this Court deems appropriate

FOURTH cAUsE or AcrroN
(Breach Of Contract)

185. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 38, and 43 through 135, and 165 through 182 of this Complaint as though set forth herein.
l l86. CollegeSource brings this cause of action against defendant AcadernyOne only.

187. For statute of iimitations purposes, this cause of action was commenced on October
27, 2008 when it was first filed in the California Action which is currently on appeal following
dismissal for tack of personal jurisdiction The limitations period has been tolled pursuant to law
and/or equity including, but not limited to, 28 U.S.C §163 l.

188. AcademyOne was on notice of CollegeSource’s terms ofuse on CollegeSource’s
Websites and digitized whole catalogs (the “Terms of Use”). The Terms of Use were
conspicuously posted on CollegeSource’s Websites and digitized whole catalogs. AcademyOne
knew or shouid have known of CollegeSource’s Terms of Use.

189. On information and belief, AcademyOne had actual knowledge of CollegeSource’s
Terrns of Use.

190. By using CollegeSource’s Websites and digitized catalogs, AcadernyOne agreed to

 

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CollegeSource’s Terms of Use.

191. The Terms of Use on CollegeSource’s Websites and digitized catalogs constituted a
valid and enforceable contract between CollegeSource and AcademyOne.

192. Through the conduct set forth above, AcadernyOne has breached the Terms of Use
on CollegeSource’s Websites and digitized catalogs.

193. CollegeSource has been damaged as a result of AcademyOne’s breach of the Terrns
of Use in an amount to be proven at trial, which includes the loss of contracts and a reasonable
royalty from AcademyOne, and believed to be in excess of 81,000,000.

194. WHEREFORE, CollegeSource is entitled to and seeks:

a. Any and all damages sustained by CollegeSource from AcademyOne’s

breach of contract in an amount to be proven at trial, but believed to be in excess of

$ l ,000,000;

b. Any and all profits of AcadernyOne as a result of its breach of contract

complained of herein;

c. The reasonable value of the Digitized Information taken by AcademyOne

from CollegeSource;

d. The expenditures saved by AcademyOne as a result of its acts complained of
- herein, including, but not limited to, CollegeSource’s costs to collect, compile and

convert its Digitized information;

 

 

e. Costs of the action; and
f. Such other and further relief as this Court deems appropriate
FIFTH CAUSE OF ACTION
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(Unjust Enrichment)

195. CollegeSource incorporates by reference the allegations contained in paragraphs 1
through 38, and 43 through 135, and 165 through 182 of this Complaint as though set forth herein
of action_.

196. AcademyOne received benefit from CollegeSource and at CollegeSource’s expense
through AcademyOne’s unauthorized receipt and use of CollegeSource’s Digitized Information.

197. AcadernyOne’s appreciation of the benefit includes, infer alia, revenues and saved
expenditures relating to the digitizing and compilation of CollegeSource’s information

198. AcademyOne accepted and retained the benefit under circumstances that it would be
inequitable for AcademyOne to retain the benefit without payment of value to CollegeSource

199. WHEREFORE, CollegeSource is entitled to and seeks:

a. That AcademyOne make restitution for any and all benefits it unjustly

received from CollegeSourcc;

b. Any and all profits of AcademyOne as a result of its acts complained of
herein;
c. The reasonable value of the Digitized-information taken by AcademyOne

from CollegeSource;

d. The expenditures saved by AcadernyOne as a result of its acts complained of
herein, including, but not limited to, CollegeSource’s costs to collect, compile and
convert its Digitized lnformation;

e. Costs of the action;

f. Equitable relief, including, but not limited to, preliminary and permanent

injunctions restraining AcademyOne from its further exploitation of the Digitized

 

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lnformation; and
g. Such other and further relief as this Court deems appropriate.
SIXTH CAUSE OF ACTION

(lnfringement of Registered Mark)
[lS U.S.C. §l l 14]

 

200. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 38, and 43 through 135, of this Complaint as though set forth in this cause of action

20l. CollegeSource brings this cause of action against defendant AcademyOne only..

202. For statute of limitations purposes, this cause of action was commenced on luna 19,
2009 when it was first filed in the California Action which is currently on appeal following
dismissal for lack of personal jurisdiction The limitations period has been tolled pursuant to law
and/or equity including, but not limited to, 28 U.S.C §1631.

203. CollegeSource owns all right, title and interest to United States Registration No.
2616166 for the word mark “COLLEGESOURCE,” and said registered word mark, for use on: (l)
“Educational services, namely providing an on~line computer database via global computer
information networks in the field of college catalogs ;” and (2) “Electronic database in the field Of
college catalogs, recorded on microfiche and CD-ROM,”

204. United States Registration No. 2616l66 for “COLLEGESOURCE” issued on
September 10, 2002. Pursuant to 15 U.S.C. §1065, the “COLLEGESOURCE” mark, and
CollegeSource’s right to use said mark in commerce, have become incontestible.

205. Since June of 1994, CollegeSource (or its predecessor CGF) has continuously used
the “COLLEGESOURCE” name and mark in interstate commerce in connection with its
information and data services related to college and university catalogs, which now include, but are

not limited to, information and data services related to curriculums, course descriptions, and

 

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206. As a result of the continuous use of “COLLEGESOURCE,” it has accumulated
significant goodwill and acquired a secondary meaning in the mind of the public to identify
CollegeSource as the source of the products and services offered in connection therewith

207. As a result of the continuous use of “COLLEGESOURCE,” its has accumulated
significant goodwill and wide public recognition, including but not limited to recognition by which
CollegeSource is known to the public, including but not limited to students, state educational
departments, and educational institutionsl

208. The “COLLEGESOURCE” name and mark has become, and is, a valuable and
irreplaceable asset of CollegeSource.

209. AcademyOne has used CollegeSource’s registered “COLLEGESOURCE” mark in
commerce in connection with the sale and advertising of AcademyOne’s goods and services by
purchasing the term “COLLEGESOURCE” from lnternet search engines, including, but not
limited to, Google, as a term that, when typed into search engincs, triggers the appearance of
advertisements, higher rankings and links to AcadernyOne’s www.CollegeTransfer.net website.

210. On information and belief, AcademyOne purchased the terms
“COLLEGESOURCE” and “CAREER GUIDANCE FOUNDATION” from Internet search
engines, as set forth above, because of the goodwill in CollegeSource’s names and marks and
because lnternet searchers associate said names and marks with CollegeSource

211. AcadernyOne’s use of CollegeSource’s registered “COLLEGESOURCE” mark, as
set forth above, was without CollegeSource’s knowledge or consentl

212. AcademyOne’s use of CollegeSource’s registered “COLLEGESOURCE” mark, as

set forth above, is likely to cause confusion, cause mistake and/or deceive.

 

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f 213. AcadernyOne’s use of CollegeSource’s registered “COLLEGESOURCE” mark, as
set forth above, is likely to cause confusion, cause mistake and/or deceive in that lnternet users,
initially seeking CollegeSource’s website(s), may believe that AcademyOne’s advertisements
and/or links are links to CollegeS-ource’s website(s) or websites sponsored by or affiliated with
CollegeSource, and/or that AcademyOne’s advertisements, links and/or Website are sponsored by
or affiliated with CollegeSource

214. AcademyOne’s use of CollegeSource’s registered “COLLEGESOURCE” mark, as
set forth above, is likely to cause initial interest confusion in that it capitalizes on the goodwill in
CollegeSource’s mark to create an initial interest in AcademyOne’s www.CollegeTransfer.net
Websitc, products and/or services

2l5. AcademyOne’s_ use of CollegeSource’s registered “COLLEGESOURCE” mark, as
set forth above, is likely to cause initial interest confusion in that it capitalizes on the goodwill in
CollegeSource’s mark to lead and divert luternet users to AcademyOne’s
Ww.CollegeTransfer.net website, on which AcademyOne offers products and/or services, that
would otherwise have proceeded to CollegeSource’s website(s).

2l6. Through AcademyOne’s use of CollegeSource’s registered “COLLEGESOURCE”
mark, as set forth above, AcademyOne improperly misappropriated and benefitted from
CollegeSource’s goodwill therein

217. On information and belief, AcademyOne, through its conduct set forth above, has
willfully and in bad faith attempted to exploit the good will, secondary meaning and public
recognition of CollegeSource’s registered “COLLEGESOURCE” mark.

218. AcademyOne, by its acts complained of herein, has infringed CollegeSource’s rights

in its registered “COLLEGESOURCE” mark.

 

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219. AcademyOne, by its acts complained of herein, has violated lS U.S.C. §l l 14.

22(}. On information and belief, AcademyOne’s infringement of CollegeSource’s rights
in its registered “COLLEGESOURCE” mark and violation of 15 U.S.C. §l l 14 was deliberate,
knowing, willful and in bad faith.

221. AcademyOne’s acts complained of herein have caused harm and irreparable injury
to CollegeSource and its business

222. CollegeSource is entitled to and seeks to recover all remedies available to it
pursuant to 15 U.S.C §1117, including, without limitation:

a. AcademyOne's protits;

b. Any and all damages sustained by CollegeSource;

c. Treble damages or profits;
d. Costs of the action; and
e. Reasonable attorney fees per statute.

SEVENTH CAUSE OF ACTION
(Lanham Act Unfair Competition)
[lS U.S.C. §llZS(a)]
223. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 38, and 43 through l35, of this Complaint as though set forth in this cause of action
224. CollegeSource brings this cause of action against defendant Academy{)ne only.
225. For statute of limitations purposes, this cause of action was commenced on June 19,
2009 When it Was first filed in the California Action which is currently on appeal following
dismissal for lack of personal jurisdiction The limitations period has been tolled pursuant to law

and/or equity including, but not limited to, 28 U.S.C §1631.

226. CollegeSource owns all right, title and interest to the “COLLEGESOURCE” and

 

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“CAREER GUIDANCE FOUNDATION” names and marks for use on or in connection with
information and data services related to college and university catalogs, which now include, but are
not limited to, information and data services related to curriculums, course descriptions, and
college transfers

227. Since June of 1994, CollegeSource (or its predecessor CGF) has continuously used
the “COLLEGESOURCE” name and mark in interstate commerce in connection With its
information and data services related to college and university catalogs, which now include, but are
not limited to, information and data services related to curriculums, course descriptions, and
college transfers

228. Since at least 1980, CollegeSource (or its predecessor CGF) has continuously used
the “CAREER GUIDANCE FOUNDATION” name and mark in interstate commerce in
connection with its information and data services related to college and university catalogs, which
now include, but are not limited to, information and data services related to curriculums, course
descriptions, and college transfers

229. As a result of the continuous use of “COLLEGESOURCE” and “CAREER
GUIDANCE FOUNDATION,” they have accumulated significant goodwill and acquired a
secondary meaning in the mind of the public to identify a single source of the products and services
offered in connection therewith

230. As a result of the continuous use of “COLLEGESOURCE” and “CAREER l
GUIDANCE FOUNDATION,” they have accumulated significant goodwill and acquired a
secondary meaning in the mind of the public to identify CollegeSource as the source of the

products and services offered in connection therewith

23 l. As a result of the continuous use of “COLLEGESOURCE” and “CAREER

 

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GUI]jANCE FOUNDATION,” they have accumulated significant goodwill and wide public
recognition including but not limited to recognition by Which CollegeSource is known to the
public, including but not limited to students, state educational departments, and educational
institutions

232. By virtue of the continuous use of the name and mark “CAREER GUlDANCE
FOUNDATION” in commerce, and the goodwill, consumer recognition and secondary meaning
resulting therefrom, CollegeSource has acquired a valuable and protected mark in “CAREER
GUlDANCE FOUNDATION.” Such consumer reco gnition_and secondary meaning came into
existence before any of the acts of infringement of “CAREER GUIDANCE FOUNDATION”
alleged herein

233. By virtue of the continuous use of the name and mark “COLLEGESOURCE” in
commerce, and the goodwill, consumer recognition and secondary meaning resulting therefrom,
CollegeSource has acquired a valuable and protected mark in “COLLEGESOURCE.” Such
consumer recognition and secondary meaning came into existence before any of the acts of
inningement of “COLLEGESOURCE” alleged herein CollegeSource’s rights in and to
“COLLEGESOURCE” as a result of its use in commerce, as set forth above, are in addition to its
rights in its registered “COLLEGESOURCE” mark.

234. AcademyOne has used CollegeSource’S “CAREER GUIDANCE FGUNDATION”
and -“COLLEGESOURCE” marks in commerce in connection with the sale and advertising of
AcademyOne’s goods and services by purchasing the terms “CAREER GU]DANCE
FOUNDATIO ” and “COLLEGESOURCE” from lnternet search engines, including, but not
limited to, Google, as terms that, when typed into said search engines, trigger the appearance of

advertisements, higher rankings and links to AcademyOne’s www.College'fransfer.net website.

 

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1 235. AcadernyOne’s use of CollegeSource’s “CAREER GU]DANCE FOUNDATION”
and “COLLEGESOURCE” marks, as set forth above, was without CollegeSource’s knowledge or
consent

23 6. AcadernyOne’s use of CollegeSource’s “CAREER GUIDANCE EOUNDATION”
and “COLLBGESOURCE” marks, as set forth above, constitutes a false designation of origin,
false cr misleading description of factor a false or misleading representation of fact which:

a. is likely to cause confusion, or to cause mistake, or to deceive as to the
affiliation, connection, or association of AcademyOne with CollegeSource, or as to
the origin, sponsorship, or approval of AcadernyOne’s goods, services, or
commercial activities by CollegeSource, and

b. misrepresents the nature, characteristics or qualities of AcademyOne’s
goods, services, or commercial activities

237. AcademyOne’s use of CollegeSource’s “CAREER GUIDANCB FOUNDATIO ”
and “COLLEGESOURCE” marks, as set forth above, is likely to cause connision, cause mistake
and/or deceive in that lnternet users, initially seeking CollegeSource’s website(s), may believe that
AcademyOne’s advertisements and/or links are links to CollegeSource’s website(s) or websites
sponsored by or affiliated with CoilegeSource, and/cr that AcademyOne’s advertisements, links
and/or Website are sponsored by or affiliated with CollegeSource

238. AcademyOne’s use of CollegeSource’s “CAREER GUB)ANCE FOUNDATION”
and “COLLEGESOURCE” marks, as set forth above, is likely to cause initial interest confusion in
that it capitalizes on the goodwill in CollegeSource’s marks to create an initial interest in
AcademyOne’s www.CollegeTransfer.net website, products and/or services,

239. AcademyOne’s use of CollegeSource’s “CAREER GUIDANCE FOUNDATION”

 

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and “COLLEGESOURCE” marks,as set forth above, is likely to cause initial interest confusion in
that it capitalizes on the goodwill in CollegeSource’s marks to lead and divert hiternet users to
AcadernyOne’s www.CollegeTransfer.net website, on which AcadernyOne offers products and/or
services, that would otherwise have proceeded to CollegeSource’s website(s).

24(). Throngh AcadernyOne’s use of CollegeSomce’s “CAREER GU]]JANCE
FOUNDATION” and “COLLEGESOURCE” marks, as set forth above, AcadernyOne improperly
misappropriated and benefitted from CollegeSource’s goodwill therein

241. On information and belief, AcademyOne, through its conduct set forth above, has
willfully and in bad faith attempted to exploit the good will, secondary meaning and public
recognition of CollegeSource’s “CAREER GUIDANCE FOUNDATION” and
“COLLEGESOURCE” marks.

242. AcademyOne, by its acts complained of herein, has infringed CollegeSource’s rights
in its “CAR_EER GU]DANCE FOUNDATION” and “COLLEGESOURCE” marks

243. AcademyOne, by its acts complained of herein, has violated 15 U.S.C. §1125(a).

244. On information and belief, AcademyOne’s infringement of CollegeSource’s rights
in its “CAREER GUIDANCE FOUNDATION” and “COLLEGESOURCE” marks, and violation
of 15 U.S.C. §llZS(a), was deliberate, knowing, willful and in bad faith.

245. AcademyOne’s acts complained of herein have caused harm and irreparable injury
to CollegeSource and its business

246. CollegeSource is entitled to and seeks to recover all remedies available to it
pursuant to 15 U.S.C §l l 17, including, Without limitation:

a. AcademyOne's profits;

b. Any and all damages sustained by CollegeSource;

 

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c. Treble damages or profits;

d. Costs of the action; and

e. Reasonable attorney fees per statute.
EIGHTH CAUSE OF ACTION

 

(Lanham Act False Advertising)
[15 U.S.C. §llZS(a)]

247. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 38, and 43 through 135, of this Complaint as though set forth in this cause of action

248. CollegeSource brings this cause of action against defendant AcademyOne only.

249. Defendant AcademyOne has made false or misleading statements and omissions as
to its products and services

250. AcademyOne falsely represented that “AcademyOne is the sole owner of...all
databases and all...copyrights and other proprietary rights of any kind or nature whatsoever related
thereto.” In AcademyOne’s response to the RFP, AcademyOne did not disclose that its website and
database(s) offered in response to the RFP were populated with Digitized lnformation stolen from
CollegeSourcel

251. AcademyOne’s false or misleading statements and omissions in response to the RFP
actually deceived, or at least had the tendency to deceive, its intended audience, which was the
South Carolina Department of Higher Education.

252. Defendant AcademyOne’s false or misleading statements and omissions in its
response to the RFP were made knowingly and with the intent to deceive the South Carolina
Department of Higher Education into believing that AcademyOne was the sole owner of the
contents of its database and website offered in response to the RFP. At the very minimum,

AcademyOne’s misrepresentations or omissions were the result of a reckless disregard for the

 

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trust

, 253. The deception caused by Academy()ne’s false or misleading statements and
omissions in response to the RFP was material, in that it was likely to influence purchasing
decisions.

254. AcademyOne was awarded a contract with the South Carolina Department of
Higher Education as a result of its response to the RFP and the false and misleading representations
or omissions contained therein. The value of the contract was estimated at $2,688,333.00.

255. On information and belief, the South Carolina Department of l-ligher Bducation
would not have granted AcademyOne a contract in response to the RFP if AcademyOne had
disclosed that its website and database(s) offered in response to the RFP were populated with
Digitized information stolen from CollegeSource.

256. On information and belief, the South Carolina Department of I-Iigher Education
would not have granted AcademyOne a contract in response to the RFP if AcademyOne had not
falsely represented that “AcademyOne is the sole owner of...all databases and all...copyrights and
other proprietary rights of any kind or nature Whatsoever related thereto.”

257. AcademyOne’s goods and services offered in response to the RFP traveled and were
offered to consumers in interstate commerce via the lnternet.

258. CollegeSource was harmed by AcademyOne’s false or misleading statements and
omissions in response to the RFP. AcademyOne was awarded a contract as a result of its false or
misleading statements and omissions, which caused CollegeSource competitive harm. On
information and belief, CollegeSource would have been awarded a contract with the South
Carolina Depart.rnent of Higher Education.

259, AcademyOne’s false or misleading statements and omissions in response to the RFP

 

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constituted false advertising in violation of 15 U.S.C. §1125(a).
260. CollegeSource is entitled to and seeks to recover all remedies available to it
pursuant to 15 U.S.C §l l 17, including, without limitation:
a. AcadernyOne’s profits;

b. Any and all damages sustained by CollegeSource;

c. Treble damages or profits;

d. Costs of the action; and

e, Reasonable attorney fees per statute.
NINTH CAUSE OF ACTION

 

(Declaration of Trademark Invalidity)
{28 U.S.C. §220l]

261. CollegeSource incorporates by reference the allegations contained in paragraphs l
through 38, and 43 through 135, of this Complaint as though set forth in this cause of action.

262. On Jnly 3, 2009, while the California Action and Pennsylvania Action were
pending, AcademyOne filed its Application Serial No.77774054 with the USPTO to register
“College'l`ransfer.net” as a service mark.

263. AcademyOne chose “CollegeTransfer.net” to correspond with the nature of its
products

264. AcademyOne chose “College'l`ransfer.net” to correspond with the nature of its
services

265. ln the Application, AcademyOne falsely represented that it first used
“College'l`ransfer.net” in commerce “at least as early as l2/01/2005.”

266. AcademyOne’s representation in the Application that it first used

“CollegeTransfer.net” “at least as early as 12/01/2005” was false and AcadernyOne knew it to be

 

 

 

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false. _

267. AcademyOne did not use CollegeTransfer.net in commerce until March of 2007.

268. AcademyOne’s representation in the Application that it first used
“CollegeTransfer.net” in commerce “at least as early as 12/01/2005” was made with the willful
intent to deceive the USPTO into issuing a service mark registration to AcademyOne with a first
usc date of lZ/Ol/ZOOS.

269. AcadeniyOne’s representation in the Application that it first used
“College'l`ransfer.net” in commerce “at least as early as 12/01/2005” constitutes fraud on the
USPTO.

270. On July 8, 2009, the USPTO issued a “Notice of Pseudo Mark” for AcademyOne’s
Application, assigning “College Transfer” to AcademyOne’s Application for registration of
“CollegeTransfer.net.”

271. On September 29, 2009, the USP'i`O issued an “Office Action” rejecting
AcademyOne’s application

272. On December 2 l, 2009, the Court in the Peiinsylvania Action granted
CollegeSource’s motion for summary judgment and dismissed the Pennsylvania Action. After
considering the evidentiary submissions of the parties, the Court found, inter alia:

a. “AcadernyOne urges us to consider ‘collegetransfer’ as distinct from
‘college [space] transfer’ and, thus, more prone to misinterpretation However,
given that domain names never have spaces between otherwise distinct words, this
argument is simply unpersuasive,”;

b. “AcademyOne cites no record evidence that could potentially support its

assertion that there is no commonly understood meaning for the phrase ‘college

 

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transfer,' e.g., evidence that the phrase ‘college transfer’ is used to refer to things
other than transfer from one educational institution to another or evidence that
individuals are genuinely confused as to the meaning of ‘collegetransfer.”’; and

c. “Nevertheless, what is crystal clear from the record is that
collegetransf`er.net offers services to students transferring from one academic
institution to another and to academic institutions that accept transfer students, and
that the services concern the college transfer process.”

273. AcademyOne was aware of the Order in the Pennsylvania Action granting
CollegeSource’s motion for summary judgment Said Order was served on AcademyOne on or
around December 2 l, 2009.

274. On March 29, 2010, AcademyOne responded to the USP'l`O’s September 29, 2009
Office Action and requested that its Application for registration of “CollegeTransfer.net” be moved
to the Supplemental Register.

275. Academy()ne’s i\/larch 29, 2010 response failed to inform the USPTO of the Court’s
Order in the Pennsylvania Action granting CollegeSource’s motion for summary judgment
AcademyOne also failed to submit to the USPTO any of the,evidence submitted by CollegeSource
in connection with CollegeSource’s successful motion for summary judgment

276. AcademyOne was under the duty to disclose to the USPTO the Court’s Order
granting CollegeSource’s motion for summary judgment in the Pennsylvania Action.
AcademyOne was also under the duty to disclose to the USPTO the evidence submitted by
CollegeSource in connection with CollegeSource’s successful motion for summary judgment

277. AcademyOne intended for the USPTO to rely upon the foregoing omissions iii its

March 29, 2010 response and issue AcademyOne a service mark registration for

 

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“College’i`ransfer.net” to which AcademyOne was not entitled.

278. AcadernyOne’s failure to inform the USPTO of the Court’s Order in the
Pennsylvania Action granting CollegeSource’s motion for summary judgment and/or failure to
submit to the USPTO any of the evidence submitted by CollegeSource in connection with
CollegeSource’s successful motion for summary judgment constitutes fraud on the USPTO.

279. On May 25, 2010, the USPTO granted the Application for the Supple_mental
Register and issued a trademark registration for “College'i`ransfer.net” thereon, Registration No.
3795258 (the “Registration”).

280. The Registration lists AcademyOne’s first use of “CollegeTransfer.net” in
commerce as December l, 2005,

281. In issuing the Registration, the USPTO relied upon AcademyOne’s statements in
the Application and March 29, 2010 response to the USPTO’s Office Acti'on.

282. AcadernyOne is not entitled to the Registration because its claimed mark in
“College'fransfer.net” is generic. “College Transfer” functions as the common descriptive name of
a product class or genus.

283. AcademyOne is not entitled to a registration for “College'l`ransfer.net” with a first
use date of 12/01/2005.

'284. There is an actual and substantial controversy between CollegeSource and
AcademyOne regarding AcademyOne’s purported rights in “College'l`ransfer.net.” This
controversy is evidenced by, inter alia, AcadernyOne’s unsuccessful claim in the Pennsylvania

Action that CollegeSource had infringed AcademyOne’s purported rights in “CollegeTransfer.net.”

285. CollegeSource seeks a judicial declaration, pursuant to 28 U.S.C. §2201, that the

 

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Registration is void for reason of fraud on thelUSPTO.

286. CollegeSource seeks a judicial declaration, pursuant to 28 U.S.C. §2201, that the
Registration is void for reason that “CollegeTransfer.net” is generic.

287. CollegeSource seeks a judicial declaration, pursuant to 28 U.S.C. §2201, that
AcademyOne does not have any trademark rights or service mark rights in “College'fransfer\net.”

PRAYER FOR RELIEF

Wl-IEREFORE, plaintiff CollegeSource is entitled to and seeks relief against defendant
AcademyOne and defendant Mold`off, and each of them, as more fully detailed in each Cause of
Actiori above, as follows:

l. For threefold damages sustained by CollegeSource, in an amount believed to be in
excess of $3,000,000, pursuant to 18 U.S.C. §l%Z(c);

2. For Compensatory damages in an amount to be proven at trial, but believed to be in
excess of $1,000,000, pursuant to 18 U.S.C. §lOSO(g);

3. For any and all damages sustained by CollegeSource nom AcademyOne’s breach of
contract in an amount to be proven at trial, but believed to be in excess of $1,000,000;

4. For any and all profits of AcademyOne as a result of its breach of contract

complained of herein;

5. For the reasonable value of the Digitized lnf`orrnation taken by AcademyOne from
CollegeSource;
6. For the expenditures saved by AcademyOne as a result of its acts complained of

herein, including, but not limited to, CollegeSource’s costs to. collect, compile and convert its
Digitized lnformation;

7. For AcademyOne’s profits from its violations of l_S U.S.C. §llQS(a) alleged herein,

 

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pursuant to 15 U.S.C §1117;

8. For any and all damages sustained by CollegeSource as a result of AcademyOne’s
violations of 15 U.S.C. §l iZS(a) alleged herein, pursuant to 15 U.S.C §1117;

9. l For treble CollegeSource’s damages and AcademyOne’s profits from resulting
nom AcademyOne’s violations of 15 U.S.C. §l 125(a) alleged berein, pursuant to 15 U.S.C §111?;

lO. For AcademyOne’s profits from its violations of 15 U.S.C. §1114 alleged herein,
pursuant to §§ U.S.C §1117;

l 1. For any and all damages sustained by CollegeSource as a result of AcadernyOne’s
violations of 15 U.S.C. §1114 alleged herein, pursuant to 15 U.S.C §ili?;

12. For treble CollegeSource’s damages and AcademyOne’s profits from resulting
from AcadernyOne’s violations of 15 U.S.C. §1114 alleged herein, pursuant to 15 U.S.C §1117;

l3. For costs of this suit;

14. For payment of CoilegeSource’s reasonable attorney fees, to the extent allowed by
laW, including, Without limitation, 18 U.S.C. §1962(6) and 15 U.S.C §l l l?(a);

15, For prejudgement interest to the extent allowable;

16. For appropriate equitable and injunctive relief, pursuant to, inter alia, 18 U.S.C.
§1962(21), including, but not limited to, preliminary injunctive relief, permanent injunctive relief,
and appropriate orders, including, but not limited to: ordering any person to divest himself of any
interest, direct or indirect, in any enterprise; imposing reasonable restrictions on the future
activities or investments of any person, including, but not limited to, prohibiting any person from
engaging in the same type of endeavor as the enterprise engaged in, the activities of Whieh affect
interstate or foreign commerce; or ordering dissolution or reorganization of any enterprise, making

due provision for the rights of innocent persons ;

 

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f l7. For injunctive and other equitable relief, including, but not limited to, preliminary

and permanent injunctions, forfeiture or seizure of CollegeSource’s Digitized luformation, and a
constructive trust over any property Which constitutes or is derived from CollegeSource’s Digitized
information, pursuant to lS U.S.C. §1030(g);

18. For injunctive and other equitable relief pursuant to the court’s inherent power,
including, but not limited to, preliminary and permanent injunctionsl

19. For a judicial declaration, pursuant to 28 U.S.C. §2201, that USPTO Registration
No. 3795258 is void for reason of fraud on the USPTO;

20. For a judicial declaration, pursuant to 28 U.S.C. §2201, that USPTO Registration
No. 3795258 is void for reason that “CollegeTransfer.net” is generic;

21. F or a judicial declaration, pursuant to 28 U.S.C. §2201, that AcademyOne does not
have trademark rights or service mark rights in “College'l`ransfer.net.”

22. For such other or further relief allowed by lavv; and

23. For such other or further relief this Court finds appropriate

 

Dated: July 19, 2010 RESPECTFULLY SUBMITTED,
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DEMAND FOR A JURY TRIAL
Plaintiff demands a trial by jury on all issues and causes of action so triable.

Dated: July 19, 2010

 

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vnRIFICATroN

l am the Chief Exeoutive Officer of plaintiff COLLEGESOURCE, lNC. To the best of
my personal knowledge and information, the factual allegations (to the extent not alleged on
information and belief) in the Veriiied Complaint are true.

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct W &pw
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